               Exhibit 4




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC.                              )
 1201 18th Street, Suite 210                    )
 Denver, CO 80202,                              )
                                                )
 DOMINION VOTING SYSTEMS, INC.                  )
 1201 18th Street, Suite 210                    )
 Denver, CO 80202, and                          )
                                                )
 DOMINION VOTING SYSTEMS                        )
 CORPORATION                                    )
 1201 18th Street, Suite 210                    )
 Denver, CO 80202,                              )       Case No.
                                                )
        Plaintiffs,                             )
                                                )
            v.                                  )
                                                )
 SIDNEY POWELL                                  )
 3831 Turtle Creek Boulevard, Unit 5B           )
 Dallas, TX 75219,                              )
                                                )
 SIDNEY POWELL, P.C.                            )
 2911 Turtle Creek Boulevard, #300              )
 Dallas, TX 75219, and                          )
                                                )
 DEFENDING THE REPUBLIC, INC.                   )
 2911 Turtle Creek Boulevard #300               )
 Dallas, TX 75219,                              )
                                                )
        Defendants.                             )

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       1.        This defamation action arises from statements made by Sidney Powell, who—

acting in concert with allies and media outlets determined to promote a false preconceived

narrative about the 2020 election—caused unprecedented harm. During a Washington, D.C. press

conference, a Georgia political rally, and a media blitz, Powell falsely claimed that Dominion had

rigged the election, that Dominion was created in Venezuela to rig elections for Hugo Chávez, and

that Dominion bribed Georgia officials for a no-bid contract.


                                      1
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        2.     Powell’s wild accusations are demonstrably false. Far from being created in

Venezuela to rig elections for a now-deceased Venezuelan dictator, Dominion was founded in

Toronto for the purpose of creating a fully auditable paper-based vote system that would empower

people with disabilities to vote independently on verifiable paper ballots. As it grew, Dominion

developed technology to solve many of the technical and voter intent issues that came to light as a

result of the 2000 Presidential Election. Its systems are certified under standards promulgated by

the U.S. Election Assistance Commission (“EAC”), reviewed and tested by independent testing

laboratories accredited by the EAC, and were designed to be auditable and include a paper ballot

backup to verify results.1 Since its founding, Dominion has been chosen by thousands of election

officials throughout the United States to provide the technology to effectively administer

transparent and fully auditable elections.

        3.     Because of these safeguards, there are mountains of direct evidence that

conclusively disprove Powell’s vote manipulation claims against Dominion—namely, the millions

of paper ballots that were audited and recounted by bipartisan officials and volunteers in Georgia

and other swing states, which confirmed that Dominion accurately counted votes on paper ballots.




1
 “Dominion” refers to Plaintiffs, US Dominion, Inc. and its subsidiaries, Dominion Voting
Systems, Inc. and Dominion Voting Systems Corporation. “Powell” refers to Defendants
Sidney Powell and her alter egos Sidney Powell, P.C. and Defending the Republic, Inc.


                                        2
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             Poll workers count paper ballots while poll watchers observe in
             Gwinnett County, Georgia on November 14, 2020.


        4.     When respected Georgia Republicans disproved Powell’s false accusations by

announcing that Georgia’s paper ballot recount had verified the accuracy of Dominion’s vote

counts, Powell sought to discredit them by falsely accusing Dominion of paying kickbacks to them

and their families in return for a no-bid contract. The only “evidence” Powell ever put forward to

support that false accusation was a doctored certificate from the Georgia Secretary of State. Powell

has insinuated that the fact that the certificate is undated is suspicious. In reality, the authentic

certificate is dated and is publicly available on the Georgia Secretary of State’s website, along with

public records showing there was a competitive bid process for the Georgia contract and that

Dominion competed against Smartmatic and Election Systems & Software (“ES&S”).2




2
 Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused Tech
Company, Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/ (Ex. 1).


                                        3
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        5.     Although Powell assured the public during television and radio appearances that

her claims were backed by “evidence,” Powell’s “evidence” included declarations from a motley

crew of conspiracy theorists, con artists, armchair “experts,” and anonymous sources who were

judicially determined to be “wholly unreliable.”3 One of Powell’s wholly unreliable sources was

a purported “military intelligence expert” who has now admitted that he never actually worked in

military intelligence, that the declaration Powell’s clerks wrote for him to sign is “misleading,”

and that he “was trying to backtrack” on it.4 After he was discredited, Powell pivoted by presenting

his declaration as having been written by a different anonymous source.

        6.     During some of her media appearances Powell also touted a shocking declaration

from an “anonymous source” purporting to be a Venezuelan military officer alleging a decades-

old conspiracy beginning with now-deceased Venezuelan dictator Hugo Chávez.5               But the

explanation in the “anonymous witness’s” declaration for why he purportedly came forward was

a near-verbatim recitation from another declaration put forward by Powell, proving that those

witnesses did not write their declarations independently and raising serious questions about what

role Powell and her team played in drafting the declaration.6




3
  Order at 24-25, Bowyer v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84].
4
  Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence
expert,’ key to fraud claims in election lawsuits, never worked in military intelligence, Wash.
Post (Dec. 11, 2020), available at, https://www.washingtonpost.com/investigations/sidney-
powell-spider-spyder-witness/2020/12/11/0cd567e6-3b2a-11eb-98c4-25dc9f4987e8_story.html
(Ex. 2).
5
  Declaration of an anonymous source claiming to have been selected for the “national security
guard detail of the President of Venezuela,” Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga.
Nov. 25, 2020) [Dkt. 1-2 at ¶ 4].
6
  Compare Declaration of an anonymous source claiming to have been selected for the “national
security guard detail of the President of Venezuela,” Pearson v. Kemp, No. 1:20-cv-04809 (N.D.
Ga. Nov. 25, 2020) [Dkt. 1-2 at ¶ 4], available at, https://defendingtherepublic.org/?page_id=986
with Statement by Ana Mercedes Díaz Cardozo, Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga.
Nov. 25, 2020) [Dkt. 1-3 at ¶ 3], available at, https://defendingtherepublic.org/?page_id=986.


                                        4
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        7.      Powell deliberately lied about having a video of Dominion’s founder saying he

could “change a million votes, no problem at all.” Powell has never produced that recording

because it does not exist.

        8.      As a result of the defamatory falsehoods peddled by Powell—in concert with like-

minded allies and media outlets who were determined to promote a false preconceived narrative—

Dominion’s founder, Dominion’s employees, Georgia’s governor, and Georgia’s secretary of state

have been harassed and have received death threats, and Dominion has suffered enormous harm.

        9.      After Dominion sent Powell a letter putting her on formal notice of the facts and

the death threats and asking her to retract her false claims, Powell doubled down, tweeting to her

1.2 million Twitter followers that she heard that “#Dominion” had written to her and that, although

she had not even seen Dominion’s letter yet, she was “retracting nothing” because “[w]e have

#evidence” and “They are #fraud masters!”7 To ensure that her tweet would be published to the

largest possible audience and inflict maximum harm on Dominion, Powell tagged some of her

allies with massive Twitter followings, including Donald Trump, Georgia-based defamation

attorney L. Lin Wood, and Powell’s client, Trump’s former National Security Advisor

Michael Flynn.

        10.     In the days and weeks that followed, Powell appeared for a number of media

interviews and continued to double down on her false accusations about Dominion.

        11.     Dominion brings this action to set the record straight, to vindicate the company’s

rights under civil law, to recover compensatory and punitive damages, to seek a narrowly tailored

injunction, and to stand up for itself and its employees.



7
 Retraction Demand Letter from T. Clare and M. Meier to S. Powell (Dec. 16, 2020) (Ex. 3);
Sidney Powell (@SidneyPowell1), Twitter (Dec. 20, 2020), available at,
https://twitter.com/SidneyPowell1/status/1340760761228996614 (Ex. 4).


                                        5
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                                            PARTIES

       12.     Plaintiff US Dominion, Inc. is a for-profit Delaware corporation with its principal

place of business in Denver, Colorado.

       13.     Plaintiff Dominion Voting Systems, Inc. is a for-profit Delaware corporation with

its principal place of business in Denver, Colorado.

       14.     Plaintiff Dominion Voting Systems Corporation is a for-profit Ontario corporation

with its principal place of business in Toronto, Ontario.

       15.     Defendant Sidney Powell is a self-proclaimed “media figure,” self-published author

of a book that purports to be a seminal work in “exposing ‘the Deep State,’” a licensed attorney,

and a member of the State Bar of Texas who practices law solely as Sidney Powell, P.C. She is

domiciled in Texas.

       16.     Defendant Sidney Powell, P.C. (“Powell’s law firm”) is a law firm owned and

operated by Sidney Powell as a sole proprietorship, where she acts as its president. There is a

unity of ownership and interest between Sidney Powell and Sidney Powell, P.C., such that there is

no discernable difference between them. Sidney Powell, P.C. is registered in the State of Texas

and maintains an address with the Texas Secretary of State at Sidney Powell’s home address.

       17.     Defendant Defending the Republic, Inc. (“Powell’s fundraising website”) is the

corporate form that was belatedly incorporated to solicit “millions of dollars” online at

https://defendingtherepublic.org/, a website created shortly after the 2020 election. The separate

corporate entity for Powell’s fundraising website was not created until December 1, 2020, after

Powell had appeared on television to solicit donations to the website and after the website began




                                      6
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representing     to   potential    donors    that    it   was     a   501(c)(4)    organization.8




        18.     On or before January 7, 2021, defendingtherepublic.org began representing to

potential donors that it is a “501c3 (Status Pending) Non-Profit.”9




        19.     Unlike contributions to 501(c)(3) organizations, contributions to 501(c)(4)

organizations are not tax deductible.



8
  Sidney Powell talks about her allegations regarding the computerized voting systems on election
night,       Washington       Examiner         (Nov.      20,        2020),     available      at,
https://www.washingtonexaminer.com/videos/sidney-powell-talks-about-her-allegations-
regarding-the-computerized-voting-systems-on-election-night (last visited Jan. 4, 2021) (Ex. 5);
Sidney Powell on Lou Dobbs Tonight on 11/30/20, YouTube (Nov. 30, 2020), available at,
https://www.youtube.com/watch?v=4uMr-TRZNCw (last visited Jan. 4, 2021) (Ex. 6); Defending
the          Republic           (Nov.           23,         2020),          available          at,
https://web.archive.org/web/20201123034128/https://defendingtherepublic.org/ (Ex. 7).
9
         Defending       the        Republic        Contact         Page,      available       at,
https://defendingtherepublic.org/?page_id=15 (last visited Jan. 7, 2021).


                                        7
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         20.     As of January 7, 2021, Defending the Republic, Inc. did not appear in a search of

501(c)(3) organizations or 501(c)(4) organizations on the IRS website.10




         21.     Defending the Republic, Inc. has three directors: Sidney Powell, L. Lin Wood, and

Brannon Castleberry, who, upon information and belief, is the owner of CWL Consulting, “a

strategy group specializing in PR/Crisis Comms, Governmental Affairs, and Marketing.”

Defending the Republic, Inc. is a Texas corporation that shares a mailing address with Powell’s

law firm, Sidney Powell, P.C.

                                 JURISDICTION AND VENUE

         22.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizenship between Plaintiffs and Defendants and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.




10
  Compare November 23, 2020 capture of https://defendingtherepublic.org/ (Ex. 7) with IRS
Tax Exempt Organization Search, available at, https://apps.irs.gov/app/eos/allSearch (Ex. 8).


                                         8
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       23.     This Court has personal jurisdiction over all Defendants pursuant to § 13-423 of

the District of Columbia Code because Defendants: (i) transacted business within the

District of Columbia; (ii) caused tortious injury by acts committed within the District of Columbia,

including and specifically by making false and defamatory statements about Dominion from within

the District of Columbia; (iii) and caused tortious injury by acts committed outside the

District of Columbia while regularly doing business within, engaging in persistent conduct within,

and deriving substantial revenue from services rendered within the District of Columbia.

       24.     This Court has personal jurisdiction over Sidney Powell because she travelled to

the District of Columbia shortly after the election and then made defamatory statements about

Dominion from within the District of Columbia, including to members of the Trump Campaign,

to Donald Trump, at a press conference on November 19, 2020, and during various media

appearances in November and December. Powell did multiple defamatory media appearances

giving rise to the case from a hotel room in the Trump International Hotel in Washington, D.C.—

and, upon such information and belief, stayed in the Trump International Hotel in Washington,

D.C. during much of the time period relevant to this case. Powell was in Washington, D.C. when

she repeatedly visited the White House in December to pressure Donald Trump to appoint her

special counsel to investigate the false accusations giving rise to this defamation case. In addition,

Powell regularly travels to and transacts business within the District of Columbia, and she derives

substantial revenue from such services rendered within the District of Columbia, including by

soliciting funds to her fundraising website and by representing Michael Flynn in the District Court

for the District of Columbia.

       25.     This Court has personal jurisdiction over Sidney Powell P.C. because (1) it

regularly transacts business within the District of Columbia, such as its recent representation of




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Michael Flynn in the District Court for the District of Columbia, and it derives substantial revenue

from such services rendered within the District of Columbia; (2) it employs two at least attorneys

who are members of the District of Columbia Bar, Brandon Johnson and Julia Haller, both of

whom work from an office in the District of Columbia; (3) it, through Sidney Powell, made

defamatory statements about Dominion from within the District of Columbia; and (4) it is an alter

ego of Sidney Powell.

       26.      This Court has personal jurisdiction over Defending the Republic, Inc. because (1)

it regularly transacts business within the District of Columbia, as it advertises and solicits

donations from residents of the District of Columbia; (2) it transacted business within the District

of Columbia by soliciting donations from within the District of Columbia through Sidney Powell’s

defamatory media appearances that were done from within the District of Columbia and by funding

the work of Sidney Powell and Sidney Powell, P.C.; (3) it maintains an office in the District of

Columbia at 601 Pennsylvania Ave., NW, South Building, Ste. 900, Washington, D.C., 20004; (4)

attorneys employed by Defending the Republic, Inc. engage in the practice of law in the District

of Columbia; and (5) it is an alter ego of Sidney Powell.

       27.      Requiring Defendants to litigate these claims in the District of Columbia does not

offend traditional notions of fair play and substantial justice and is permitted by the Due Process

Clause of the United States Constitution. Dominion’s claims arise in part from defamatory

statements Powell made about Dominion from within the District of Columbia, including to

members of the Trump Campaign, to Donald Trump, at a press conference on November 19, 2020,

and during various media appearances in November and December. Defendants avail themselves

of numerous privileges in the District of Columbia, including those set forth above.




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       28.      Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events giving rise to the claims in this Complaint occurred in this District and, as discussed

above, because Defendants are subject to the Court’s personal jurisdiction in this District.

                                  FACTUAL ALLEGATIONS

                 After Being Founded in John Poulos’s Basement in Toronto,
              Dominion Becomes an American Company and Provides Machines to
                       Help Local Election Officials Count Paper Ballots

       29.      In 2002, John Poulos had an idea that he thought could help blind people vote on

paper ballots, so he founded a business out of his basement in Toronto and incorporated it under

Ontario law as Dominion Voting Systems Corporation.

       30.      By 2009, the business had grown in the United States and a subsidiary company,

Dominion Voting Systems, Inc., was incorporated in Delaware and headquartered in Denver,

Colorado.     Poulos voluntarily worked with the Committee on Foreign Investment in the

United States (“CFIUS”) to ensure they knew who he was and who was invested in Dominion.

       31.      By 2018, the majority of the business’s customers and employees were in the

United States, so Poulos sold the majority stake of the business to U.S. investors.

       32.      Today, Dominion’s business is organized as US Dominion, Inc. and its two wholly

owned subsidiaries, Dominion Voting Systems, Inc. and Dominion Voting Systems Corporation

(collectively, “Dominion”).

       33.      Dominion contracts with state and local governments to provide its voting systems

and services in a majority of states across the country. Those contracts are typically multi-year

contracts and range from tens of thousands of dollars to over a hundred million dollars, depending

on the jurisdiction and scope of the contract. For example, Dominion’s contract with the state of

Georgia—implemented in 2019—is a 10-year contract valued at over $100 million. Given the

nature of the U.S. election system and the voting services industry, Dominion’s contracts have


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historically been long term with high renewal rates. In 2020, Dominion had contracts in 28 states

and Puerto Rico.

          34.      Dominion provides local election officials with tools they can use to run elections,

such as voting machines that count paper ballots.

          35.      Dominion’s voting systems are certified under standards promulgated by the EAC

and reviewed and tested by independent testing laboratories accredited by the EAC.

          36.      In 2016, when Donald Trump was elected president of the United States,

Dominion’s technology was used in 1,635 jurisdictions in more than two dozen “red” and “blue”

states.

 Dominion Provides Machines to Count Paper Ballots for Local Election Officials in Georgia
    and Numerous Other “Red” and “Blue” States and Counties for the 2020 Election

          37.      As set forth in government records that are publicly available on the Georgia

Secretary of State’s website, there was a competitive bid process to provide voting machines for

use in the 2020 election in Georgia.11 Dominion competed against Smartmatic (further evidence

that they are separate companies) and ES&S for the Georgia contract.12

          38.      After scoring the highest in the competitive bid process, Dominion won the Georgia

contract.13 This initial contract is for a 10-year term and valued at over $100 million.

          39.      On August 9, 2019, Georgia’s Republican Secretary of State Brad Raffensperger

signed and sealed a certificate attesting that Dominion’s systems had “been thoroughly examined




11
   Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused Tech
Company, Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/ (Ex. 1).
12
   Id.
13
   Id.


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and tested and found to be in compliance with” applicable Georgia law. That certificate is dated

and is publicly available on the Secretary of State’s website.14

       40.      In 2020, state and local election officials and bipartisan poll workers administered

their elections by using Dominion’s tabulation devices to count paper ballots in Georgia and many

other “red“ and “blue” states and numerous counties.

                    Independent Audits and Hand Recounts of Paper Ballots
                      Prove That Dominion’s Vote Counts Were Accurate

       41.      The voter verified paper ballots are the hard evidence that can be easily used to

verify the accuracy of the Dominion machine counts. If Dominion or anyone else had rigged the

election by manipulating the vote counts in the Dominion machines—whether by “weighting”

votes, trashing votes, adding votes, or otherwise—the number of paper ballots that were verified

and cast by voters would not match the machine counts. In fact, independent 100% hand audits

and recounts of paper ballots have repeatedly verified the accuracy of the vote counts from

Dominion machines.

       42.      After a 100% hand audit of all the ballots cast in Georgia in the 2020 election,

Georgia’s Republican Secretary of State Brad Raffensperger explained that “Georgia’s historic

first statewide audit reaffirmed that the state’s new secure paper ballot voting system accurately

counted and reported results.”15




14
   Id.; Georgia Secretary of State, Dominion Certification (Aug. 9, 2019), available at,
https://sos.ga.gov/admin/uploads/Dominion_Certification.pdf (Ex. 10).
15
   Georgia Secretary of State, Historic First Statewide Audit of Paper Ballots Upholds Result of
Presidential Race, available at,
https://sos.ga.gov/index.php/elections/historic_first_statewide_audit_of_paper_ballots_upholds_r
esult_of_presidential_race#:~:text=2020%20Qualifying%20Packet-
,Historic%20First%20Statewide%20Audit%20of%20Paper%20Ballots%20Upholds%20Result%
20of,machine%20tally%20of%20votes%20cast (Ex. 11).


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        43.      At the request of the Trump Campaign, in addition to the hand audit, Georgia also

conducted a subsequent machine recount, which again affirmed the original outcome of the

presidential race in Georgia.

        44.      As Secretary of State Raffensperger explained after a signature match audit

affirmed the outcome of the 2020 presidential race in Georgia for a third time, “The Secretary of

State’s office has always been focused on calling balls and strikes in elections and, in this case,

three strikes against the voter fraud claims and they’re out.”16

       45.       Similarly, as Secretary Raffensperger explained to Donald Trump during a

telephone call that was reported by The Washington Post, “I don’t believe that you’re really

questioning the Dominion machines. Because we did a hand re-tally, a 100 percent re-tally of all

the ballots, and compared them to what the machines said and came up with virtually the same

result. Then we did the recount, and we got virtually the same result. So I guess we can probably

take that off the table. I don’t think there’s an issue about that.”17

        46.      Similarly, in a press conference, an official from Georgia’s Secretary of State’s

office explained, “Let’s just go to the other ridiculous claims, that Dominion voting machines are

somehow using fractional voting or flipping votes. Again, by doing the hand tally, it shows none

of that is true. Not a whit.”18




16
   Georgia Secretary of State, 3rd Strike Against Voter Fraud Claims Means They’re Out After
Signature Audit Finds No Fraud, https://sos.ga.gov/index.php/elections/3rd_strike_against_voter
_fraud_claims_means_theyre_out_after_signature_audit_finds_no_fraud (Ex. 12).
17
   Amy Gardner and Paulina Firozi, Here’s the full transcript and audio of the call between Trump
and      Raffensperger,       Wash.      Post,      (Jan.     3,     2021),       available     at,
https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-
vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html (Ex. 13).
18
   WATCH: Georgia election officials reject Trump call to ‘find’ more votes, PBS (Jan. 4, 2021),
available at, https://www.pbs.org/newshour/politics/watch-live-georgia-secretary-of-states-office-
holds-press-conference (Ex. 14).


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        47.      A hand recount of paper ballots in Antrim County, Michigan confirmed that

“Dominion’s voting machines accurately tabulated the votes cast for president in

Antrim County.”19

        48.      A spokesperson for the Michigan Secretary of State confirmed, “We have not seen

any evidence of fraud or foul play in the actual administration of the election … What we have

seen is that it was smooth, transparent, secure and accurate.”20

        49.      Following a bipartisan investigation into the vote in Antrim County, Michigan, the

state’s Republican Senate Majority Leader Mike Shirkey announced, “Our investigation, which

has been very intense, discovered none, none of the allegations and accusations against Dominion

[are] true.”21

        50.      In Arizona, the Chairman of the Maricopa County Board of Supervisors released a

statement explaining, “The evidence overwhelmingly shows the system used in Maricopa County

is accurate and provided voters with a reliable election ... The Dominion tabulation equipment met

mandatory requirements during logic and accuracy testing before the Presidential Preference

Election, the Primary Election and the General Election. And after each of these 2020 elections,

the hand count audit showed the machines generated an accurate count.”22




19
   See Trump still wins small Michigan county after hand recount, Associated Press (Dec. 17,
2020), available at, https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-
elections-07e52e643d682c8033a0f26b0d863387 (Ex. 15).
20
   Nick Corasaniti, Reid J. Epstein & Jim Rutenberg, The Times Called Officials in Every State:
No Evidence of Voter Fraud, N. Y. Times (Nov. 10, 2020), available at,
https://www.nytimes.com/2020/11/10/us/politics/voting-fraud.html (Ex. 16).
21
   Abigail Censky, How Misinformation Lit The Fire Under A Year Of Political Chaos In
Michigan, NPR (Jan. 1, 2021), available at, https://www.npr.org/2021/01/01/952528193/how-
misinformation-lit-the-fire-under-a-year-of-political-chaos-in-michigan (Ex. 17).
22
   Letter from Clint Hickman to Maricopa County Voters (Nov. 17, 2020), available at,
https://www.maricopa.gov/DocumentCenter/View/64676/PR69-11-17-20-Letter-to-
Voters#:~:text=Here%20are%20the%20facts%3A&text=The%20evidence%20overwhelmingly


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       51.      The Elections Infrastructure Government Coordinating Council and the Election

Infrastructure Sector Coordinating Executive Committees released a joint statement confirming

that there is “no evidence that any voting system deleted or lost votes, changed votes, or was in

any way compromised.”23 The Joint Statement was signed and endorsed by, among others, the

National Association of State Election Directors, National Association of Secretaries of State, and

the U.S. Cybersecurity & Infrastructure Security Agency (“CISA”)—then led by a Trump

appointee, Chris Krebs.

       Members of the Trump Campaign Raise Alarms About Powell’s Baseless Claims,
       But She Nevertheless Appears as an Agent of the Campaign and Donald Trump
                        at a Press Conference in Washington, D.C.

       52.      Early on, Powell decided on a false preconceived narrative to excuse Trump’s

impending loss in the 2020 election: during a televised interview with One America News Network

(“OAN”) on Election Day, she claimed that Democrats were trying to “steal the vote” from Trump

and that “they ha[d] developed a computer system to alter votes electronically.”24

       53.      In her efforts to make the evidence conform to that false preconceived narrative,

Powell found an ally in Patrick Byrne. Byrne was previously the CEO of Overstock.com, but

abruptly resigned his board seat and position as CEO after it was revealed that he had had a

romantic affair with the now-notorious Russian agent, Maria Butina, who was sentenced to 18

months in prison after being indicted by federal prosecutors for trying to infiltrate powerful


%20shows%20the,voters%20with%20a%20reliable%20election.&text=As%20required%20by%
20law%20(A.R.S,used%20in%20any%20Arizona%20elections (Ex. 18).
23
   Cybersecurity & Infrastructure Security Agency, Joint Statement From Elections
Infrastructure Government Coordinating Council & The Election Infrastructure Sector
Coordinating Executive Committees (Nov. 12, 2020), available at,
https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
coordinating-council-election (Ex. 19) (emphasis added).
24
   Sidney Powell: Dems will use ‘lawfare’ to alter election, OAN (Nov. 5, 2020), available
at, https://defendingtherepublic.org/?p=1154; https://www.youtube.com/watch?v=Vh5U_6apzvI
&feature=emb_logo (last visited Jan. 7, 2021) (Ex. 20).


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political circles in the United States at the direction of the Russian government.25 The day after

the 2020 election, Byrne got in touch with Powell and Rudy Giuliani and told them that he knew

months before the election that “goons” were going to steal the election, that he had started funding

a plan in August, “had this plotted out what they were going to do,” and had “reverse engineered”

how the election was stolen.26 According to Byrne, his claims were “a little farfetched for other

people in Washington,” and Giuliani “came at this a bit differently,” but Powell “was totally super

receptive to what we had to say.”27

       54.       A couple of days after the election, Powell showed up at the Trump Campaign’s

headquarters and began pressing the campaign to focus suspicion on Dominion, saying that the

Dominion strategy was ideal because it would draw into question the accuracy of voting in so

many states.28

       55.       When Trump Campaign attorneys Justin Clark and Matt Morgan sought evidence

from Powell, she produced none. They then told others that they should not present the Dominion

theory because there was no evidence for it.29




25
   Michael Corkery, Overstock C.E.O. Takes Aim at ‘Deep State’ After Romance With Russian
Agent, N.Y. Times (Aug. 15, 2019), available at,
https://www.nytimes.com/2019/08/15/business/overstock-paul-byrne-maria-butina-affair.html
(Ex. 21).
26
   Patrick Byrne Explains Trump Path to Victory, Corsi Nation (Dec. 24, 2020), available at,
https://www.stitcher.com/show/corsi-nation-by-jerome-r-corsi-phd/episode/dr-corsi-news-12-24-
20-patrick-byrne-explains-trump-path-to-victory-80388895 (Ex. 22).
27
   Id.
28
   Aaron C. Davis, Josh Dawsey, Emma Brown & Jon Swaine, For Trump Advocate Sidney
Powell, a playbook steeped in conspiracy theories, Wash. Post (Nov. 28, 2020), available at,
https://www.washingtonpost.com/investigations/sidney-powell-trump-kraken-
lawsuit/2020/11/28/344d0b12-2e78-11eb-96c2-aac3f162215d_story.html (Ex. 23).
29
   Id.


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       56.      At least one other Trump Campaign official was surprised by Powell’s sudden

involvement and observed that Powell did not seem interested in having evidence.30

       57.      On November 6, 2020, around the same time Powell was meeting with the

Trump Campaign, the domain name defendingtherepublic.org was registered, and Powell began

using it as a fundraising website. By at least November 10, 2020, Powell’s fundraising website

proclaimed, “Over $500,000 must be raised in the next twenty-four hours” for her “to halt the

certification of ballots in Georgia, Michigan, Nevada, Pennsylvania, and Wisconsin.”31 (Despite

that representation, Powell is now admittedly using funds contributed to her fundraising website

to fund her own legal defense.)32




30
   Id.
31
   Defending the Republic (Nov. 10, 2020), https://web.archive.org/web/20201110221040/http://l
dfftar.org/ (Ex. 24).
32
   The Rush Limbaugh Show, iHeart Radio (Dec. 29, 2020), available at,
https://www.iheart.com/podcast/1119-the-rush-limbaugh-show-57927691/episode/the-rush-
limbaugh-show-podcast--75675693/ (last visited Jan. 7, 2021) (Ex. 25) (Powell:
defendingtherepublic.org is a “non-profit that is working to help me defend all these cases and to
defend me now that I’m under massive attack from the attorney general of Michigan and the City
of Detroit and everything else.”) (emphasis added).


                                     18
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       58.      From November 8 to December 14—Powell, acting in concert with like-minded

allies in the media, appeared on Fox Business, The Epoch Times, the Washington Examiner’s

podcast Examining Politics, and The John Fredericks Show to solicit donations to her fundraising

website and to peddle the falsehood that Dominion was created in Venezuela to rig elections for

Hugo Chávez, and had in fact rigged the 2020 U.S. Presidential Election by using “algorithms” in

its machines to change the ballots and to “flip” and “shave” votes.33




33
  Sidney Powell talks about her allegations regarding the computerized voting systems on election
night,       Washington       Examiner          (Nov.       20,     2020),     available        at,
https://www.washingtonexaminer.com/videos/sidney-powell-talks-about-her-allegations-
regarding-the-computerized-voting-systems-on-election-night (Ex. 5) (last visited Jan. 4, 2021);
Sidney Powell on Lou Dobbs Tonight on 11/30/20, YouTube (Nov. 30, 2020), available at,
https://www.youtube.com/watch?v=4uMr-TRZNCw (Ex. 6) (last visited Jan. 4, 2021); Sidney
Powell to Newsmax TV: Our Case Was Prejudged, Newsmax (Dec. 7, 2020), available at,
https://defendingtherepublic.org/?p=1166;          https://www.newsmax.com/newsmax-tv/sidney-
powell-kraken-lawsuit-scotus/2020/12/07/id/1000459/ (last visited Jan. 4, 2021) (Ex. 26);
Evidence       of     Fraud:    Sidney      Powell      and     Lou    Dobbs     discuss,     Fox
Business (Dec. 10, 2020), available at, https://defendingtherepublic.org/?p=1168; https://video.fo
xbusiness.com/v/6215520845001/#sp=show-clips (last visited Jan. 4, 2021) (Ex. 27); Exclusive:
Sidney Powell on 2020 Election Lawsuits, Supreme Court Decision, and the Flynn Case, The
Epoch Times (Dec. 13, 2020), available at, https://defendingtherepublic.org/?p=1170;
https://www.theepochtimes.com/exclusive-sidney-powell-on-election-lawsuits-supreme-court-
decision-and-the-flynn-case_3617067.html (last visited Jan. 4, 2021) (Ex. 28); Sidney Powell:
Kraken Released in MI; Scotus Next!, The John Fredericks Show (Dec. 14, 2020),
available at, https://www.johnfredericksradio.com/podcast/december-14-2020/;
https://www.youtube.com/watch?v=qWt1vB-OIZk&list=PL1q2i_zsupwSdYDFTH0pA-X-
YNz57E5TV&index=2 (last visited Dec. 29, 2020) (Ex. 29).


                                     19
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       59.      On November 14, 2020, Donald Trump tweeted: “I look forward to Mayor Giuliani

spearheading the legal effort to defend OUR RIGHT to FREE and FAIR ELECTIONS!

Rudy Giuliani, Joseph diGenova, Victoria Toensing, Sidney Powell, and Jenna Ellis, a truly great

team, added to our other wonderful lawyers and representatives!”34 The tweet generated nearly

50,000 comments, was retweeted over 76,000 times, and received over 325,000 likes.




       60.      During a Newsmax interview on November 17, Powell claimed to have bombshell

evidence to substantiate her wild accusations: she promised to tweet out a video of Dominion’s

founder publicly admitting he “can change a million votes, no problem at all.”35 Powell never

tweeted out such a video because it does not exist. The video does not exist because no such

statement was ever made, nor would it be made, by Dominion’s founder.

       61.      Despite the fact that Trump appointee Chris Krebs had already confirmed there was

no evidence of voting machine manipulation, despite the fact that Powell had told a nationally

televised audience that she had incredible video evidence that she never produced, and despite the


34
     Donald J. Trump (@realDonaldTrump), Twitter (Nov. 14, 2020), available at,
https://twitter.com/realdonaldtrump/status/1327811527123103746 (Ex. 106).
35
   Sidney Powell to Newsmax: Dominion Designed to ‘Rig Elections,’ Newsmax (Nov. 17, 2020),
available        at,     https://www.newsmax.com/newsmax-tv/sidney-powell-dominion-voting-
systems/2020/11/17/id/997526/ (last visited Dec. 4, 2020) (Ex. 30).


                                     20
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fact that the Trump Campaign knew that Powell had no evidence for her false accusations against

Dominion, on the morning of November 19, 2020, Donald Trump invited more than 88 million of

his Twitter followers to tune in for an “Important News Conference today by lawyers on a very

clear and viable path to victory. Pieces are very nicely falling into place. RNC at 12 p.m.”36

       62.      At noon on November 19, 2020, along with Giuliani and Jenna Ellis, Powell gave

a televised press conference at the Republican National Committee headquarters in

Washington, D.C. Giuliani stated that they were “representing President Trump and we’re

representing the Trump campaign” and Ellis introduced the group as “an elite strike force team

that is working on behalf of the president and the campaign.”




          Sidney Powell speaks during a televised press conference from the
          Republican National Committee headquarters in Washington, D.C. on
          November 19, 2020.

       63.      After being introduced as a lawyer for the Trump Campaign and President Trump,

Powell falsely told a global audience that Dominion was “created in Venezuela at the direction of


36
    Donald J. Trump (@realDonaldTrump), Twitter (Nov. 19, 2020), available at,
https://twitter.com/realDonaldTrump/status/1329408856733184008 (Ex. 31).



                                     21
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Hugo Chávez to make sure he never lost an election,” that Dominion flipped votes from Trump to

Biden by running an algorithm that automatically flips all the votes, and that George Soros’s

“number two person” Lord Malloch Brown was “one of the leaders of the Dominion project.”

Based on these false assertions of fact, Powell stated, “There should never be another election

conducted in this country, I don’t care if it’s for local dog catcher, using a Dominion machine ...”37

       64.      The same day as Powell’s televised D.C. press conference with Rudy Giuliani and

Jenna Ellis, someone purchased the web domain sidneypowell2024.com. Privacy services were

used to hide the registrant’s name and address.

                    Despite Having No Evidence to Support Her Claims,
     Powell Capitalizes on Her False Accusations to Ingratiate Herself to Donald Trump

       65.      The same day as the press conference, Fox News’s Tucker Carlson called Powell

out for failing to produce any evidence to support her incredible claims. Despite his invitation to

Powell to appear on his show and present her evidence, “she never sent [] any evidence, despite a

lot of requests ... not a page.” He also stated that when he and his staff kept pressing for Powell

to present evidence, “she got angry with us and told us to stop contacting her ... so we checked

with others around the Trump campaign, people in positions of authority; they told us Powell has

never given them any evidence either, nor did she provide any today at the press conference.” He

concluded that Powell “never demonstrated that a single actual vote moved illegitimately by

software from one candidate to another. Not one.”38




37
   Trump Campaign News Conference on Legal Challenges, CSPAN (Nov. 19, 2020), available at,
https://www.c-span.org/video/?478246-1/trump-campaign-alleges-voter-fraud-states-plans-
lawsuits (last visited Jan. 4, 2021) (Ex. 32).
38
   MUST-SEE: Tucker Carlson ABANDONS Trump’s election fraud case on air, YouTube (Nov.
19, 2020), available at, https://www.youtube.com/watch?v=BspHzH6RRxo (last visited Jan. 4,
2021) (Ex. 33).


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       66.      Despite Powell’s failure to provide evidence, video of her false accusations at the

D.C. press conference was foreseeably tweeted by the GOP and by Powell’s ally, Donald Trump,

to his more than 88 million followers, instantly and irreparably damaging Dominion’s reputation

and business to a global audience and putting the lives of Dominion employees in danger.39




       67.      Emboldened by Trump’s endorsement of her false accusations, which launched her

into political superstardom, Powell’s defamatory media campaign continued and intensified with

appearances on the Fox Business program, Mornings with Maria and the Washington Examiner’s

podcast Examining Politics.




39
    Donald J. Trump (@realDonaldTrump), Twitter (Nov. 20, 2020), available at,
https://twitter.com/realDonaldTrump/status/1329760015314464770?s=20 (Ex. 34).


                                     23
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       68.      On November 20, 2020, after a hand count of 100% of the paper ballots cast in

Georgia’s election verified the accuracy of the machine counts and conclusively disproved

Powell’s accusations of voter fraud in Georgia, Georgia’s Republican Governor Kemp and

Secretary of State Raffensperger certified the election results in that state.40

       69.      The very next day, Powell conducted a telephonic interview with Newsmax, during

which she doubled down on her false accusations against Dominion, claimed that the Georgia

certification was a “total farse,” and claimed that “Mr. Kemp and the Secretary of State … are in

on this Dominion scam with their last-minute purchase or award of a contract to Dominion of a

hundred million dollars.”41 Governor Kemp and Secretary of State Raffensperger received death

threats as a result of Powell’s false claims.

       70.      The next day, on November 22, during an interview on ABC News’s This Week,

Trump loyalist Chris Christie gave an interview in which he stated “If you’ve got the evidence of

fraud, present it. … The conduct of the president’s legal team has been a national embarrassment.

Sidney Powell accusing Governor Brian Kemp of a crime, on television, yet being unwilling to go

on TV and defend and lay out the evidence that she supposedly has. … If you’re unwilling to come

forward and present the evidence, it must mean the evidence doesn’t exist.”42 Powell has never




40
   See Kate Brumback, Georgia officials certify election results showing Biden win, Associated
Press (Nov. 20, 2020), available at, https://apnews.com/article/georgia-certify-election-joe-biden-
ea8f867d740f3d7d42d0a55c1aef9e69 (Ex. 35).
41
   Sidney Powell: It will be BIBLICAL, Newsmax TV (Nov. 21, 2020), available                     at,
https://www.youtube.com/embed/Y68pEknYyCM?rel=0&start=0 (last visited Jan. 4, 2021) (Ex.
36).
42
   Paul Kane and Felicia Sonmez, Chris Christie calls the conduct of Trump’s legal team a
‘national    embarrassment,’       Wash.       Post   (Nov.      22,    2020),     available     at,
https://www.washingtonpost.com/politics/republicans-christie-trump-
concede/2020/11/22/05c280e6-2cda-11eb-bae0-50bb17126614_story.html (Ex. 37).


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come    forward    to   present   evidence    that    Dominion   bribed   Governor   Kemp   or

Secretary Raffensperger because no such evidence exists; Powell’s accusations are false.

       71.      That same day, someone purchased the web domain sidneypowellforpresident.com.

Privacy services were used to hide the registrant’s name and address.

       72.      In calls to the White House, several Republican senators warned that Powell

seemed unhinged,43 and the Trump Campaign issued the following statement: “Sidney Powell is

practicing law on her own. She is not a member of the Trump Legal Team. She is also not a

lawyer for the President in his personal capacity.”




       73.      Powell was undeterred. On November 23, she issued public statements claiming

that “votes for Trump and other Republicans” had been “stolen by massive election fraud through



43
  Aaron C. Davis, Josh Dawsey, Emma Brown & Jon Swaine, For Trump Advocate Sidney Powell,
a playbook steeped in conspiracy theories, Wash. Post (Nov. 28, 2020), available at,
https://www.washingtonpost.com/investigations/sidney-powell-trump-kraken-
lawsuit/2020/11/28/344d0b12-2e78-11eb-96c2-aac3f162215d_story.html (Ex. 23).


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Dominion” and that she was compiling “overwhelming” “evidence” that Dominion’s software

“was used to shift millions of votes from President Trump…”44

       74.      On November 24, just two days after the Trump Campaign had publicly distanced

itself from her, Powell repeated her defamatory falsehoods about Dominion during a televised

interview on the Fox Business program Lou Dobbs Tonight, which Powell’s ally Donald Trump

foreseeably retweeted to his more than 88 million Twitter followers.45




44
   Kathryn Watson, Trump legal team disavows association with lawyer Sidney Powell, CBS News
(Nov. 23, 2020), available at, https://www.cbsnews.com/news/sidney-powell-disavowed-by-
trump-campaign/ (Ex. 38); Masooma Haq, Former Republican Candidate Alleges Hard Evidence
of Corruption in US Election System, The Epoch Times (Nov. 23, 2020), available at,
https://www.theepochtimes.com/expert-hard-evidence-of-corruption-in-us-election-
system_3590417.html (Ex. 39).
45
   BREAKING NEWS: Sidney Powell Tells Lou Dobbs Her Lawsuit in Georgia May Be Filed As
Soon        As      Tomorrow,      YouTube      (Nov.     24,     2020),      available   at,
https://www.youtube.com/watch?v=KpT2Rz4rTWM (last visited Jan. 4, 2021) (Ex. 40); Lou
Dobbs         (@LouDobbs),        Twitter     (Nov.     24,      2020),      available    at,
https://twitter.com/LouDobbs/status/1331366325629968386?s=20 (Ex. 41).


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          Powell and Wood File Sham Litigations and Hold a Georgia Political Rally
                      to Further Their Defamatory Media Campaign

       75.      On November 25, Powell and her Georgia-based ally and co-counsel L. Lin Wood

filed lawsuits together in federal courts in Georgia and Michigan. (Wood is known for using

Twitter —until his account was permanently suspended on January 6, 2021—and Parler to falsely

accuse Chief Justice John G. Roberts of being a child-murdering pedophile and to call for Vice

President Mike Pence to be executed by “firing squad” for “treason.”46) In their lawsuits, Powell

and Wood alleged “massive election fraud” in the 2020 election, claiming that Dominion was

“founded by foreign oligarchs and dictators to ensure computerized ballot-stuffing and vote

manipulation to whatever level was needed to make certain Venezuelan dictator Hugo Chávez

never lost another election.”47 The following week, on December 1 and 2, 2020, Powell and Wood

filed similar lawsuits in federal courts in Wisconsin and Arizona, repeating their false claims of

“massive election fraud.”

       76.      As licensed attorneys, Powell and Wood were obligated to investigate the factual

basis for their claims before making them in public filings. As such, they either conducted the

inquiry required of them as licensed attorneys and violated their ethical obligations by knowingly




46
       Lin     Wood      (@LLinWood),        Twitter     (Jan.   1,    2021),    available   at,
https://twitter.com/LLinWood/status/1345067881319587840; Lin Wood (@LLinWood), Twitter
(Jan. 4, 2021), available at, https://twitter.com/LLinWood/status/1345991175690457091;
LLinWood           (@linwood),        Parler     (Jan.      4,      2021),     available     at,
https://parler.com/post/99be4095510747c2928ed02a4bc41a18 (Ex. 9).
47
   Complaint at ¶ 5, Pearson v. Kemp, No. 12-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1],
available at, https://defendingtherepublic.org/wp-content/uploads/2020/11/COMPLAINT-CJ-
PEARSON-V.-KEMP-11.25.2020.pdf; Complaint for Declaratory, Emergency, and Permanent
Injunctive Relief at ¶ 5, King v. Whitmer, No. 20-cv-13134 (E.D. Mich. Nov. 29, 2020) [Dkt. 6],
available        at,      https://defendingtherepublic.org/wp-content/uploads/2020/11/Michigan-
Complaint.pdf.


                                     27
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making false assertions rebutted by the information they found, or they violated their ethical

obligations by purposefully avoiding undertaking the reasonable inquiry required of them.

       77.      After Powell and Wood had filed their election lawsuit in Georgia and posted the

“evidence” from that case to their fundraising website, Trump loyalist and then-U.S.

Attorney General William Barr rebutted Powell’s and Wood’s claims against Dominion, stating,

“There’s been one assertion that would be systemic fraud and that would be the claim that

machines were programmed essentially to skew the election results. And the DHS and DOJ have

looked into that, and so far, we haven’t seen anything to substantiate that.”48

       78.      On December 2, 2020, the same day they filed their fourth election lawsuit, Powell

and Wood co-led and spoke at a televised “Stop the Steal” rally attended by Trump supporters in

Alpharetta, Georgia. During the rally, Powell and Wood falsely accused Dominion of rigging the

election against Trump, being created in Venezuela to rig elections for Hugo Chávez, and bribing

Georgia’s governor and secretary of state. Based on those false accusations, which Wood claimed

were backed by “piles of evidence” and “mountains of evidence,” Powell told the crowd that there

should not be a runoff election for Georgia’s Senate seats “certainly not on Dominion machines,”

and implored Georgia voters to “flood the legislators here in Georgia and the Governor and the

Secretary of State with phone calls and letters.” Wood instructed the crowd to surround Governor

Kemp’s house and blow their horns, led the crowd in chanting “LOCK HIM UP!,” and vowed to

never vote for Kemp again. Wood also used the rally to promote OAN, Newsmax, and The Epoch

Times—i.e., three media outlets that gave Powell a platform and endorsed and repeated Powell’s




48
  Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, Associated Press
(Dec. 1, 2020), available at, https://apnews.com/article/barr-no-widespread-election-fraud-
b1f1488796c9a98c4b1a9061a6c7f49d (Ex. 43).


                                     28
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and Wood’s false accusations about Dominion.49 Powell and Wood both solicited donations

during the rally and, at one point Wood shouted, to thunderous applause, “How about

Sidney Powell and Mike Flynn in 2024?”




          Sidney Powell and L. Lin Wood at their “Stop the Steal” rally in
          Alpharetta, Georgia, on December 2, 2020.




         Hundreds gather to hear Sidney Powell and L. Lin Wood speak at a “Stop the
         Steal” rally in Alpharetta, Georgia, on December 2, 2020.


49
  Sidney Powell, Lin Wood attend ‘Stop the Steal’ rally in Georgia, YouTube, (Dec. 2, 2020),
available at, https://www.youtube.com/watch?v=pq-_B5z3QIA (last visited Jan. 4, 2021) (Ex. 44).


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       79.      Within a week of their “Stop the Steal” rally in Georgia, all four of the election

lawsuits Powell and Wood had filed together were dismissed. Between November 25 (the date

their first election lawsuits were filed) and December 9 (the date their last election case was

dismissed), when they were supposedly litigating cases they claimed would overturn the results of

a U.S. presidential election, Powell gave five interviews (to Newsmax, Fox Business, The John

Fredericks Show, and Huckabee with Mike Huckabee), during which she repeated her defamatory

falsehoods about Dominion and touted the “evidence” on her fundraising website.

       80.      Powell and Wood filed their election lawsuits—which never had a chance of

reversing the results of the election—with the obvious and cynical purpose of creating court

documents they could post on their fundraising websites and tout as “evidence” during their media

campaign, to raise funds and their public profiles, and to ingratiate themselves to Donald Trump

for additional benefits and opportunities that they expected to receive as a result of their association

with him. Indeed, the same day that Powell filed her election lawsuit in Georgia, Trump pardoned

Powell’s client Michael Flynn—who had previously pleaded guilty to lying to the FBI. In

December, Donald Trump repeatedly gave Powell an audience in the White House, where she

pressured him to appoint her special counsel to investigate “election fraud,” i.e., the very false

accusations giving rise to this case. And, on information and belief, Powell has capitalized on her

new-found fame to sell more copies of her book and t-shirts.50

       81.      The Courts where Powell and Wood filed their meritless lawsuits saw right through

their sham. The United States District Court for the Eastern District of Michigan found that Powell



50
     See Sidney Powell (@SidneyPowell1), Twitter (Jan. 2, 2021), available at,
https://twitter.com/SidneyPowell1/status/1345578709919670272; see also Sidney Powell,
https://www.sidneypowell.com/shop (last visited Jan. 7, 2021) (“Due to increased demand, new
book orders are on backorder until January 1, 2021. Shop a selection of Sidney Powell’s Best
Seller Licensed to Lie, and “Creeps on A Mission” T-Shirts!”).


                                     30
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and Wood had submitted “nothing but speculation and conjecture that votes for President Trump

were destroyed, discarded or switched to votes for Vice President Biden.” Op. & Order at 34, King

v. Whitmer, No. 20-cv-12134 (E.D. Mich. Dec. 7, 2020) [Dkt. 62].

       82.      The United States District Court for the District of Arizona found that the evidence

put forward by Powell and Wood was impressive only for its volume and was “largely based on

anonymous witnesses, hearsay, and irrelevant analysis of unrelated elections,” and includes

“expert reports” that “reach implausible conclusions, often because they are derived from wholly

unreliable sources.” Order at 24-25, Bowyer v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020)

[Dkt. 84]. The “wholly unreliable sources” put forward by Powell and Wood in that case (whose

declarations were posted on Powell’s fundraising website) included Terpsichore Maras-Lindeman,

Russell Ramsland, William Briggs, and Josh Merritt a.k.a. “Spyder.”

       83.      After her last election lawsuit was dismissed on December 9, Powell doubled down

on her false accusations about Dominion; in response to a tweet by Donald Trump, she wrote, “The

election & media were all #rigged. Your voters broke the #Dominion algorithm… This election

fraud must be completely exposed & ended NOW for the world.”51




51
     Sidney Powell (@SidneyPowell1), Twitter (Dec. 10, 2020), available                          at,
https://twitter.com/SidneyPowell1/status/1337251453359026183?s=20 (Exhibit 45).


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       84.      From December 10 to 15, Powell’s defamatory media campaign continued with

appearances on Fox Business’s Lou Dobbs Tonight, The Epoch Times, and The John Fredericks

Show, during which she repeated her defamatory falsehoods about Dominion.

       85.      During her December 10 appearance on Lou Dobbs Tonight, Powell repeated her

falsehoods about Dominion, claimed they were supported by “real evidence” on her fundraising

website defendingtherepublic.org, and—in response to Dobbs’s offer to put forward on the

broadcast whatever evidence Powell had—Powell promised to get Dobbs “more information that

is just stunning tonight.”52 Powell broke that promise: as admitted by Dobbs weeks later, “Eight




52
  Evidence of Fraud: Sidney Powell and Lou Dobbs discuss, Fox Business (Dec. 10, 2020),
available at, https://defendingtherepublic.org/?p=1168; https://video.foxbusiness.com/v/6215520
845001/#sp=show-clips (last visited Jan. 4, 2021) (Ex. 27).


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weeks from the election and we still don’t have verifiable, tangible support for the crimes that

everyone knows were committed… We have had a devil of a time finding actual proof.”53

       86.      On December 11, 2020, Powell posted a tweet, tagging Donald Trump,

L. Lin Wood, and Newsmax’s Greg Kelly, and stating:

                #ElectionFraud
                There should be no more voting on computers or #Dominion anywhere
                Can only expect another #rigged result54




53
      Matt Wilstein (@mattwilstein), Twitter (Jan. 4, 2021), available at,
https://twitter.com/mattwilstein/status/1346245027932979200.
54
    See Sidney Powell (@SidneyPowell1), Twitter (Dec. 11, 2020), available at,
https://twitter.com/SidneyPowell1/status/1337264198041133057 (Ex. 46).


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To Bolster Her Fundraising and Defamatory Media Campaign, Powell Proffered “Evidence”
         That Was Deliberately Misrepresented, Manufactured, and Cherry-Picked

       87.      Powell put forward purported “evidence” in her court filings that was deliberately

misrepresented, manufactured, and cherry-picked. Although Dominion is not currently suing

Powell based on the false statements in Powell’s sham litigations, the manipulation of the judicial

process apparent in Powell’s court filings is additional evidence that Powell knew the statements

she made about Dominion—during her defamatory press conference in Washington, D.C., “Stop

the Steal” rally, and media campaign—were false. Moreover, as further evidence of her actual

malice, during her defamatory media campaign, Powell sought to lend credence to her false

accusations—and to solicit donations—by touting the flawed “evidence” attached to the court

filings posted to her fundraising website.

       88.      For example, Powell sponsored the declaration of an anonymous “military

intelligence expert” code-named “Spyder,” who has since been identified as Josh Merritt.55

Powell’s “military intelligence expert” has now admitted that he never actually worked in military

intelligence and that the declaration Powell’s team wrote for him to sign is “misleading” and he

“was trying to backtrack” on it.56

       89.      Powell also cherry-picked Princeton professor Andrew W. Appel’s statements

about a decades-old machine not designed by Dominion, which was not used in the 2020 election

in any of the swing states being challenged by Powell. Powell appended Professor Appel’s cherry-

picked statements to her court filings so that she could post them to her fundraising website, as



55
   Complaint at Ex. 7, Pearson v. Kemp, No. 12-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-9],
available at, https://defendingtherepublic.org/?page_id=986.
56
   Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence
expert,’ key to fraud claims in election lawsuits, never worked in military intelligence, Wash. Post
(Dec. 11, 2020), available at, https://www.washingtonpost.com/investigations/sidney-powell-
spider-spyder-witness/2020/12/11/0cd567e6-3b2a-11eb-98c4-25dc9f4987e8_story.html (Ex. 2).


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though Professor Appel’s expertise were “evidence” supporting her election-rigging claims against

Dominion. In reality, Professor Appel and 58 other specialists in election security have forcefully

rebutted Powell’s claims, explaining that they “have never claimed that technical vulnerabilities

have actually been exploited to alter the outcome of any US election.”57 They further explained

that “no credible evidence has been put forth that supports a conclusion that the 2020 election

outcome in any state has been altered through technical compromise.”58

       90.      Powell also touted a shocking declaration from an anonymous purported

Venezuelan military officer alleging a decades-old international election-rigging conspiracy

beginning with Hugo Chávez.59        But the “anonymous witness’s” explanation for why he

purportedly came forward was a near-verbatim recitation from another declaration put forward by

Powell, proving that those witnesses did not each write their declarations independently and raising

serious questions about the role that Powell and her team played in drafting the declarations

attached to Powell’s court filings and touted as “evidence” during her defamatory media campaign.




57
   See Tony Adams, Prof. Andrew W Appel, et al., Scientists say no credible evidence of
computer fraud in the 2020 election outcome, but policymakers must work with experts to
improve confidence, Matt Blaze (Nov. 16, 2020), available at,
https://www.mattblaze.org/papers/election2020.pdf (Ex. 47) (emphasis added).
58
   Id. (emphasis added).
59
   Declaration of an anonymous source claiming to have been selected for the “national security
guard detail of the President of Venezuela,” Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga.
Nov. 25, 2020) [Dkt. 1-2 at ¶ 4], available at, https://defendingtherepublic.org/?page_id=986;
Complaint at Ex. 1, King v. Whitmer, No. 20-cv-13134 (E.D. Mich. Nov. 25, 2020) [Dkt. 1-1],
available at, https://defendingtherepublic.org/?page_id=1015.


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  Declaration of an anonymous source claiming Statement by Ana Mercedes Díaz Cardozo,
  to have been selected for the “national security Pearson v. Kemp, No. 1:20-cv-04809 (N.D.
  guard detail of the President of Venezuela,” Ga. Nov. 25, 2020) [Dkt. 1-3 at ¶ 3].
  Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga.
  Nov. 25, 2020) [Dkt. 1-2 at ¶ 4].

  “I want to alert the public and let the world         “I want to alert the public and let the world
  know the truth about the corruption,                  know the truth about corruption,
  manipulation, and lies being committed by a           manipulation, and lies being committed
  conspiracy of people and companies intent upon        through a conspiracy of individuals and
  betraying the honest people of the United States      businesses with the intention of betraying the
  and their legally constituted institutions and        honest people of the United States and its
  fundamental rights as citizens. This conspiracy       legally    constituted     institutions   and
  began more than a decade ago in Venezuela and         fundamental rights as citizens. This
  has spread to countries all over the world. It is a   conspiracy began more than a decade ago in
  conspiracy to wrongfully gain and keep power          Venezuela and has spread to countries all
  and wealth. It involves political leaders,            over the world. It is a conspiracy to unjustly
  powerful companies, and other persons whose           gain and maintain power and wealth. It
  purpose is to gain and keep power by changing         involves political leaders, powerful
  the free will of the people and subverting the        companies, and other persons whose purpose
  proper course of governing.”                          is to gain and maintain power by changing
                                                        people’s free will and subverting the proper
                                                        course of governing.”


                         Powell Put Forward Doctored Evidence and
             Withheld Key Proof to Support Her False Accusations About Dominion

       91.      Powell and Wood repeatedly told national audiences that Dominion had bribed

Georgia’s Republican governor and secretary of state for a last-minute no-bid contract. They

claimed to have evidence to support that accusation, but never produced it during their televised

appearances or on Twitter. Instead, in their sham litigation in Georgia, they claimed that

Governor Kemp and Secretary of State Raffensperger had “rushed” through the purchase of

Dominion voting machines and software, noting that the Dominion certification from the secretary

of state was “undated,” and attaching a copy of an undated Dominion Certification. In reality, the




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authentic certificate is dated August 9, 2019—more than a year before the November 2020

election—and is publicly available online at the Georgia Secretary of State’s website.60


 Doctored undated Secretary of State certificate Authentic dated Secretary of State certificate
 attached to Powell’s complaint in Georgia       publicly available online




       92.      Upon information and belief, Powell, Wood, or someone reporting to them

downloaded the authentic certificate from the Secretary of State’s website and cut off the date,

seal, and signature before attaching the doctored document as an exhibit to their Georgia complaint




60
   Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused Tech
Company, Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/ (Ex. 1); compare Complaint at Ex. 5, Pearson v. Kemp, No. 1:20-
cv-04809       (N.D.     Ga.      Nov.      25,    2020)       [Dkt.     1-6],   available    at,
https://defendingtherepublic.org/?page_id=986 with Georgia Secretary of State,
Dominion Certification (Aug. 9, 2019), available at, https://sos.ga.gov/admin/uploads/Dominion
_Certification.pdf (Ex. 10).


                                     37
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and uploading it to Powell’s fundraising website as “evidence” supporting the bribery accusations

they made during the “Stop the Steal” rally and in media appearances.

       93.      Other government records prove that Dominion won the Georgia contract after

scoring the highest in a competitive bid process (not a no-bid process)—during which it competed

against ES&S and Smartmatic; those records are also publicly available on the very same webpage

where, upon information and belief, Powell, Wood, or someone reporting to them downloaded the

dated Dominion Certification before doctoring it.61




61
  Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused Tech
Company, Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/ (Ex. 1).


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       94.      Anyone downloading the Dominion Certification from the Secretary of State’s

website can see—in the links directly above it—that Dominion competed against Smartmatic for

the Georgia contract and is thus not the same company as Smartmatic or owned by Smartmatic.

       95.      During her defamatory media campaign, Powell either actually knew about these

readily available government records or purposefully avoided them in reckless disregard of the

truth and in violation of her ethical duties as a licensed attorney.

       96.      Ironically, of the three companies identified on the Georgia Secretary of State’s

website as having submitted a bid for the Georgia contract, Dominion is the only one that has never

serviced an election in Venezuela. Both Smartmatic and ES&S have serviced Venezuelan

elections. But Powell targeted Dominion with her claim of Venezuelan election-rigging not

because she believed it was true, but because it supported her false preconceived narrative.

   Starting with the Claims of a Facially Unreliable Purported Venezuelan Military Officer,
  Powell Deliberately Embellished His Claims and Misrepresented the Relationship Between
     Dominion and Smartmatic to Support Her Defamatory Falsehoods About Dominion

       97.      During her defamatory media campaign, Powell has asserted that her accusations

of Venezuelan election-rigging against Dominion are supported by the declaration of an

anonymous purported Venezuelan military officer. There are several obvious reasons why that

source is unreliable on its face, including: (1) a key portion of his declaration is nearly word-for-

word identical to another declaration submitted by Powell, proving that those witnesses did not

write their declarations independently; (2) his declaration has been redacted to conceal his identity

and key details about his background; (3) even if he is who he purports to be, there are serious

reasons to doubt the outlandish claims of someone who worked for a dictatorship with an interest

in undermining confidence in American democracy, particularly where, as here, his claims had

the potential to—and did in fact—undermine confidence in American democracy; and

(4) American Trump appointees like Chris Krebs and Bill Barr—who, unlike Powell’s source,


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have never worked for a Venezuelan dictator—have confirmed that there was no widespread voter

fraud in the 2020 election.

       98.      But even if one were to credit the incredible claims of the associate of a foreign

dictator, even his declaration—which was attached to Powell’s court filings—does not actually

claim that Dominion was created in Venezuela for the purpose of rigging elections for

Hugo Chávez.      Rather, his declaration makes that claim about Dominion’s competitor,

Smartmatic. Although his declaration blithely asserts that Smartmatic software is “in the DNA”

of every vote tabulating company’s software and system, it fails to provide any credentials,

expertise, or factual basis whatsoever from which the declarant could possibly determine what is

“in the DNA” of proprietary software he never even claims to have had access to, which is operated

by multiple voting machine companies he never even claims to have worked for.62 As such, Powell

knew or recklessly disregarded that that claim was obviously baseless and false.

       99.      In addition, if Powell’s anonymous purported Venezuelan military officer is in fact

Leamsy Villafaña José Salazar—as has been reported by the Associated Press and the

Caracas Chronicles—that would raise other serious doubts about the veracity of his declaration.

After serving Hugo Chávez, Salazar worked for Diosdado Cabello, the alleged head of a

Venezuelan drug cartel, before cooperating with the United States Drug Enforcement Agency. He

is quoted in a 2016 book titled Boomerang Chávez: The Fraud that Led to Venezuela’s Collapse,

which alleges that Smartmatic (not Dominion) was involved in rigging elections for Hugo Chávez

in Venezuela.




62
  Declaration of an anonymous source claiming to have been selected for the “national security
guard detail of the President of Venezuela,” Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov.
25, 2020) [Dkt. 1-2 at ¶ 4], available at, https://defendingtherepublic.org/?page_id=986.


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       100.    But—unlike the declaration attached to Powell’s sham litigation—the book makes

no mention of Dominion and identifies Salazar by name. This raises troubling questions about

Powell’s knowledge of the falsity of her claims about Dominion and the evidence she presented in

support of those claims. For example, if Salazar was already identified by name in a book alleging

Venezuelan election-rigging, why was his identity redacted from the declaration attached to

Powell’s court filings? And if Salazar actually believed the Smartmatic software is “in the DNA”

of Dominion and every other American voting machine company, why is that explosive accusation

not mentioned anywhere in the book for which he was a source? If Salazar is now a pure-hearted

whistleblower with the best interests of American democracy at heart, why did he wait more than

five years after arriving in the United States—until after Trump had lost the presidential election—

to tell anyone that U.S. elections were being rigged through the use of decades-old Venezuelan

vote-flipping software allegedly “in the DNA” of the software of all companies servicing U.S.

elections? And, especially given his prior cooperation with the U.S. federal government, why did

he take his allegation to Sidney Powell, rather than to Trump’s Attorney General Bill Barr or

Trump’s Justice Department or Trump appointee Chris Krebs? Or perhaps he did take his

allegation to them and they found it utterly lacking in credibility for all of the reasons set forth

above, all of which were known to or readily knowable by Powell before she touted his allegation

during her televised media tour.

       101.    In any event, Powell deliberately embellished her anonymous declarant’s obviously

false accusation about Smartmatic software being “in the DNA” of Dominion’s systems, claiming,

for example, that “Smartmatic owns Dominion,”63 that Dominion and Smartmatic “have the same




63
   The Affidavit: Sidney Powell With Lou Dobbs, YouTube (Nov. 16, 2020), available at,
https://www.youtube.com/watch?v=n_p1sonhp-k (last visited Jan. 4, 2021) (Ex. 48).


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history from their inception,” that “[t]here’s thousands of people in federal prison on far less

evidence of criminal conduct than we have already against the Smartmatic and Dominion Systems

companies,”64 and that “[t]he flipping of votes by Dominion is even advertised in their ability to

do that … They’ve done it in Venezuela.”65

       102.    These are just a few examples of instances when Powell deliberately

misrepresented evidence in her possession to conflate Dominion and Smartmatic in order to tarnish

Dominion with claims that had actually been made about Smartmatic. For example, Powell gave

an interview on The Sean Hannity Show and falsely claimed, “Senator Warren and Klobuchar and

some others, in December of 2019, were complaining about the Venezuelan connection and the

corruption in the Dominion systems. And Carolyn Maloney was one of the congressmen who, ten

years ago or so, called it out and tried to get the government not to approve its use whatsoever.”66

       103.    Powell’s own court filings prove she knows those claims are false.

Congresswoman Maloney’s letter (which Powell knew about because it was attached to her court

filings) was not about Dominion; instead, it raised concerns that “a Venezuelan businessman” had




64
   Sidney Powell Follows Up With Lou Dobbs About Today’s Press Briefing, YouTube (Nov. 19,
2020), available at, https://www.youtube.com/watch?v=X-53TpxRtxI (last visited Jan. 4, 2021)
(Ex. 49).
65
   Powell: Election Fraud Now Obvious Because President Trump’s Landslide Victory Broke
Dominion     ‘Vote-Switch’      Algorithm,      OAN      (Dec.     30,   2020),  available  at,
https://www.oann.com/powell-election-fraud-now-obvious-because-president-trumps-landslide-
victory-broke-dominion-vote-switch-algorithm/ (last visited Jan. 4, 2021) (Ex. 50); The Rush
Limbaugh       Show,        iHeart      Radio      (Dec.       29,     2020),   available   at,
https://www.iheart.com/podcast/1119-the-rush-limbaugh-show-57927691/episode/the-rush-
limbaugh-show-podcast--75675693/ (last visited Jan. 7, 2021) (Ex. 25).
66
    The Sean Hannity Show with Louie Gohmert, iHeart Radio (Dec. 23, 2020), available at,
https://www.sidneypowell.com/media/listen-below-for-sidney-powells-latest-insight-into-the-
fraudulent-2020-election (last visited Jan. 4, 2021) (Ex. 51).


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“a controlling interest in Smartmatic.”67     And, far from complaining about a “Venezuelan

connection” and “corruption” in Dominion’s systems or saying that Smartmatic owns Dominion,

Senators Warren and Klobuchar’s letter (which Powell knew about because it was attached to her

court filings) raises questions about potential vulnerabilities—not “corruption”—in Dominion’s

systems, and makes clear that Dominion is majority owned by an American private equity firm—

not Smartmatic or Venezuelans.68 Far from simply raising concerns about potential vulnerabilities

as Senators Warren and Klobuchar had done, Powell falsely accused Dominion of actually rigging

the 2020 election and having been designed for that very purpose, and then deliberately

misrepresented that the letter from Senators Warren and Klobuchar was evidence supporting her

false claim.

                    Powell Put Forward Conspiracy Theorists, Con Artists,
                      and Other Facially Unreliable Sources as Experts

       104.    In order to bolster and lend credence to her false accusations about Dominion,

Powell also touted “expert” witnesses who submitted declarations in support of her sham

litigations, which Powell posted to her fundraising website. Powell’s so-called experts included

Terpsichore Maras-Lindeman, Russell Ramsland, William Briggs, Matt Braynard, and

Navid Keshavarz-Nia.

       105.    According to a publicly available court order, Terpsichore Maras-Lindeman is a

serial liar and con artist.69 After serving in the Navy for less than a year, Maras-Lindeman created


67
   Letter from Congresswoman Maloney to Henry M. Paulson (Oct. 6, 2006), Complaint at Ex. 24,
Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-24], available at,
https://defendingtherepublic.org/?page_id=986.
68
   Letter from Senator Warren, Senator Klobuchar, Senator Ron Wyden, and Congressman Mark
Pocan (Dec. 6, 2019), Complaint at Ex. 26, Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. Nov.
25, 2020) [Dkt. 1-26], available at, https://defendingtherepublic.org/?page_id=986.
69
   Findings of Fact, Conclusions of Law, and Order for Judgment, State v. Maras, No. 51-2018-
CV-01339 (Dist. Ct. N. Central Jud. Dist., N.D. Sept. 11, 2020), available at,
https://attorneygeneral.nd.gov/sites/ag/files/documents/RecentActions/2020-09-14-


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a profile on Together We Served, an online veteran community, and falsely claimed an extensive

military career—including that she had reached the rank of lieutenant, served in the Office of

Naval Intelligence and in combat zones in the Republic of Kosovo, Afghanistan, and Iraq, and was

awarded multiple medals including a Purple Heart.70 In a recent fraud case, attorneys for the state

of North Dakota said that Maras-Lindeman falsely claimed to be a doctor.71 They also said she

used multiple aliases and social security numbers and created exaggerated online resumes as part

of what they called “a persistent effort … to deceive others.”72 They alleged that Maras-Lindeman

organized a charitable event to raise funds for homeless shelters, a Catholic school, and a

monument, but then used money she collected on purchases for herself at Wal-Mart, McDonald’s,

QVC, and elsewhere.73 A judge ordered Maras-Lindeman to pay more than $25,000 after finding

that she violated consumer protection laws by misspending money she raised and soliciting

donations while misrepresenting her experience and education.74 Powell put Maras-Lindeman’s

affidavit forward as evidence without even bothering to speak to her, whether to assess her

credibility or otherwise.75 In addition, Powell either knew that she was putting forward the



MagicCityChristmas-Judgment.pdf (Ex. 52); see also Jon Swaine, Powell’s secret intelligence
contractor witness is a pro-Trump podcaster, Wash. Post (Dec. 24, 2020), available at,
https://www.washingtonpost.com/investigations/sidney-powells-secret-intelligence-contractor-
witness-is-a-pro-trump-podcaster/2020/12/24/d5a1ab9e-4403-11eb-a277-
49a6d1f9dff1_story.html (Ex. 53).
70
     LT Terpsichore Lindeman, Together We Served, (Mar. 5, 2020), available at,
https://web.archive.org/web/20200305152810/https%3A/navy.togetherweserved.com/usn/servlet
/tws.webapp.WebApp?cmd=SBVTimeLine&type=Person&ID=506419 (Ex. 54); Ex. 53.
71
   Ex. 52; see also Ex. 53.
72
   Id.; Complaint at 26, State v. Maras, No. 51-2018-CV-01339 (Dist. Ct. N. Central Jud. Dist.,
N.D. Jul. 2, 2018) (Ex. 55).
73
   Id.
74
   Ex. 52.
75
   Ex. 53 (“Maras-Lindeman told The Post she had never spoken directly to Powell or anyone
working on her legal team. She said she distributed the affidavit widely to like-minded people and
was unaware it had come to Powell’s attention until it appeared as an exhibit in one of her cases.”).
Powell posted Maras-Lindeman’s affidavit to her fundraising website and attached it to court


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affidavit of a judicially adjudicated con artist, or Powell purposefully avoided checking the

publicly available court order on the North Dakota Attorney General’s website confirming that

Maras-Lindeman is exactly that.

       106.    Russell Ramsland is a failed Republican congressional candidate and conspiracy

theorist who has publicly claimed, among other things, that George Soros helped form the

“Deep State” in Nazi Germany in the 1930s—along with President George H.W. Bush’s father,

the Muslim Brotherhood, and “leftists.”76 (Mr. Soros was born in 1930.) Ramsland’s views on

these points have been a matter of public record since at least 2018. As such, Powell put Ramsland

forward as an expert even though she either knew he was not a reliable source, or she recklessly

disregarded readily available information demonstrating that. A Delaware judge determined that

Ramsland provided “materially false information” in support of his claims of vote manipulation77

when he referenced and cited locations in Minnesota when alleging voter fraud in Michigan—

something that Powell either knew or recklessly failed to verify by reference through a basic

Google search.78 Antrim County officials determined that Ramsland’s report was “riddled with




filings in her election cases in Wisconsin and Arizona. See Am. Complaint at Ex. 13, Feehan v.
Wis. Election Comm’n, No. 20-cv-01771 (E.D. Wis. Dec. 3, 2020) [Dkt. 9-13], available at,
https://defendingtherepublic.org/?page_id=1045; Complaint at Ex. 13, Bowyer v. Ducey, No. 2-
20-cv-02321        (D.     Ariz.     Dec.    9,     2020)    [Dkt.    1-5],     available   at,
https://defendingtherepublic.org/?page_id=1036.
76
   John Savage, Texas Tea Partiers Are Freaking Out Over ‘Deep State’ Conspiracy Theories,
Vice (Sept. 20, 2018), available at, https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-
are-freaking-out-over-deep-state-conspiracy-theories (Ex. 56).
77
   Rule to Show Cause, Page v. Oath Inc., No. S20C-07-030 (Del. Super. Ct. Dec. 18, 2020).
78
    Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly
inaccurate      claims    about     vote,   PolitiFact   (Dec.   4,   2020),     available  at,
https://www.politifact.com/factchecks/2020/dec/04/russell-james-ramsland-jr/affidavit-
michigan-lawsuit-seeking-overturn-electi/ (Ex. 57).


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false and unsupported claims, baseless attacks, and incorrect use of technical terms.”79 Similarly,

the former acting director of the Election Assistance Commission’s Voting System Testing and

Certification program—who is actually an expert in voting systems—said that Ramsland’s report

showed a “grave misunderstanding” of Antrim County’s voting system and “a lack of knowledge

of election technology and process.”80 Michigan’s Attorney General and Secretary of State issued

a joint statement that Ramsland’s report was “critically flawed, filled with dramatic conclusions

without any evidence to support them.”81 And, conclusively disproving Ramsland’s report, a hand

recount of paper ballots in Antrim County confirmed that “Dominion’s voting machines accurately

tabulated the votes cast for president in Antrim County.”82 Yet, even after Ramsland’s report was

conclusively disproven, Powell continued to misrepresent that Ramsland was a “forensic expert”

whose report was evidence supporting her false claims about Dominion.

       107.    William Briggs’s claims are based on a list—compiled by Matt Braynard—of

allegedly ineligible Georgia voters who supposedly voted illegally. A federal judge rejected




79
   See Report spreads debunked claims about Dominion machines in Michigan county, Associated
Press     (Dec.    15,    2020),     available    at,   https://apnews.com/article/fact-checking-
afs:Content:9847904839 (Ex. 58).
80
   See Todd Spangler, Former election security chief for Trump knocks down Antrim County
report,     The      Detroit     Free     Press     (Dec.      16,   2020),      available     at,
https://www.freep.com/story/news/politics/elections/2020/12/16/antrim-county-report-debunked-
by-former-trump-election-official/3923499001/ (Ex. 59).
81
   AG, SOS: Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates Lack of Credible
Evidence in Widespread Fraud or Wrongdoing, Michigan Dep’t of Attorney General (Dec. 14,
2020), available at, https://www.michigan.gov/ag/0,4534,7-359-92297_47203-547422--,00.html
(Ex. 42).
82
   See Trump still wins small Michigan county after hand recount, Associated Press (Dec. 17,
2020), available at, https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-
elections-07e52e643d682c8033a0f26b0d863387 (Ex. 15).


                                     46
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Briggs’s analysis and Braynard’s list—which included voters who were eligible to vote—because

of its “sheer unreliability.”83

        108.    Navid Keshavarz-Nia’s claims about the 2020 election were described by then-

CISA director and Trump-appointee Chris Krebs as “nonsense.”84 And Keshavarz-Nia declared,

under penalty of perjury, that there was a pattern of improbable vote reporting in “Edison County,

Michigan”—a county that does not exist in that state.

        109.    On information and belief, Powell knew that her purported experts were unreliable

from information she possessed or purposefully avoided, from her training as an attorney, and from

her experience as a former federal prosecutor.

            Powell Intentionally Disregarded Hard Evidence and Reliable Sources
           Including Trump Appointees, Republicans, and Election Security Experts
             Who Rebutted and Disproved Her False Accusations About Dominion

        110.    Even after Powell’s false claims about Dominion rigging the election had been

repeatedly, forcefully, and publicly rebutted and disproven by the hard evidence of independent

audits and hand recounts of paper ballots and by reliable sources like Trump appointee

Chris Krebs, Trump appointee Bill Barr, Georgia’s Republican Governor Brian Kemp, and

Georgia’s Republican Secretary of State Brad Raffensperger, federal judges, and 59 election

security experts, Powell intentionally disregarded the truth and continued to promote inherently

improbable falsehoods about Dominion.



83
   Order at 26, Bowyer v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84]; Michelle
Ye Hee Lee, Here’s what happened when a Georgia lawmaker scrutinized the Trump campaign’s
list of allegedly illegal votes, Wash. Post (Dec. 10, 2020), available at,
https://www.washingtonpost.com/politics/heres-what-happened-when-a-georgia-lawmaker-
scrutinized-the-trump-campaigns-list-of-allegedly-illegal-votes/2020/12/10/1400d628-3b06-
11eb-bc68-96af0daae728_story.html (Ex. 60).
84
   Zach Montellaro and Kyle Cheney, Pro-Trump legal crusade peppered with bizarre blunders,
Politico (Dec. 3, 2020), available at, https://www.politico.com/news/2020/12/03/sidney-powell-
trump-election-lawsuit-442472 (Ex. 61).


                                     47
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       111.    While endeavoring to make the facts conform to her false preconceived narrative

that the election was rigged and was the “greatest crime of the century if not the life of the world,”

Powell was confronted with a number of hurdles that rendered her outlandish claims inherently

improbable, if not outright impossible.85 At each step of the way, Powell either deliberately

disregarded the facts disproving her claims or invented new falsehoods to explain away the hurdles

and reinforce her false preconceived narrative.

       112.    One hurdle was that Dominion—unlike its competitors, Smartmatic and ES&S—

has never serviced a Venezuelan election at all, let alone to support Hugo Chávez. No matter.

Powell attempted to overcome this hurdle by deliberately misrepresenting that Dominion was

owned by Smartmatic, in order to tarnish Dominion with accusations that had actually been made

about its competitor.

       113.    Another hurdle was that Georgia’s independent audit and hand count of 100% of

the ballots conclusively disproved the falsehood that Dominion rigged the election in Georgia.

When specifically asked about this at the “Stop the Steal” rally, Powell falsely claimed that

“Georgia did not do a full hand recount of the ballots.”86

       114.    Another hurdle rendering Powell’s claims inherently improbable: Georgia’s

Republican secretary of state and governor rebutted Powell’s claims and refused to overturn

Georgia’s election results. Powell’s reaction was to falsely accuse them of being in on the

conspiracy.




85
   Sidney Powell: Kraken Released in MI; Scotus Next!, The John Fredericks Show (Dec. 14,
2020),     available     at,   https://www.johnfredericksradio.com/podcast/december-14-2020/;
https://www.youtube.com/watch?v=qWt1vB-OIZk&list=PL1q2i_zsupwSdYDFTH0pA-X-
YNz57E5TV&index=2 (last visited Dec. 29, 2020) (Ex. 29).
86
   Sidney Powell, Lin Wood attend ‘Stop the Steal’ rally in Georgia, YouTube, (Dec. 2, 2020),
available at, https://www.youtube.com/watch?v=pq-_B5z3QIA (last visited Jan. 4, 2021) (Ex. 44).


                                     48
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       115.    Another hurdle: Trump loyalist Attorney General Bill Barr said that U.S. attorneys

and FBI agents had followed up on complaints they had received, but that there was no evidence

to substantiate Powell’s claims.87 To overcome that hurdle, Powell repeatedly told televised

audiences that it was “beyond my comprehension” why the government had not done more to

address concerns about election integrity. And Powell’s ally L. Lin Wood exhorted the crowd of

Trump supporters at their televised “Stop the Steal” rally to “send that message to Bill Barr at the

Justice Department, do your job … You tell the director of the FBI, do your damn job. You work

for us. Investigate this fraud.”88

       116.    For certain other hurdles rendering Powell’s defamatory falsehoods inherently

improbable, Powell simply ignored them. For example, she has not explained how a decades-old

international election-rigging conspiracy involving independent testing labs accredited by the EAC

and thousands of bipartisan local election volunteers could have evaded detection for so long. Nor

has she explained how—if Dominion was willing and able to commit a massive fraud to deprive

Trump of the presidency—Trump won the presidential election in 2016, despite the fact that

Dominion machines were used in over 1,600 jurisdictions during that election.

                            Dominion Has Suffered Enormous Harm

       117.    As a result of the false accusations disseminated to a global audience by Powell,

her allies, and like-minded media outlets—who acted in concert to promote a false preconceived

narrative about the 2020 election, despite the total lack of evidence to support it, and despite the




87
   Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, Associated Press
(Dec. 1, 2020), available at, https://apnews.com/article/barr-no-widespread-election-fraud-
b1f1488796c9a98c4b1a9061a6c7f49d (Ex. 43).
88
   Sidney Powell, Lin Wood attend ‘Stop the Steal’ rally in Georgia, YouTube, (Dec. 2, 2020),
available at, https://www.youtube.com/watch?v=pq-_B5z3QIA (last visited Jan. 4, 2021) (Ex. 44).


                                     49
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mountains of paper ballots and the army of credible sources disproving it—Dominion has suffered

enormous reputational and financial harm and its employees’ lives have been put in danger.

       118.    The disinformation campaign began to go viral after Powell’s first appearance after

the election on Lou Dobbs Tonight on November 6, 2020. The day after that appearance,

“Dominion” began trending on Twitter.89

       119.    That trend grew. By way of example, over a three-hour period on December 21,

2020, the terms “dominion” and “fraud” were tweeted out together by more than 2,200 users with

over 8.75 million total followers.




89
   Twitter Trends on Trending words on 7th November, 2020, Trend Calendar, available at,
https://us.trend-calendar.com/trend/2020-11-07.html (Ex. 62).


                                     50
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       120.   Those over 2,200 Twitter users were located across the United States and in 17

countries around the world.




       121.   Countless media outlets and social media users foreseeably republished and

disseminated the viral disinformation campaign about Dominion. By way of example only, on

December 9, 2020, an internet publication called DC Clothesline foreseeably republished Powell’s

false claims that the software in Dominion’s voting machines “was developed and financed by

some of our enemies, including Venezuela,” that “Dominion machines cannot be relied on at all,”

that “fraud … happened in Georgia,” and that “the system is just as rigged as it was four weeks

ago.”90 A social media user then posted a hyperlink to the article including Powell’s false




90
  JD Heyes, Attorney Sidney Powell drops more bombshells, says election software that rigged
2020 elections has been used for years to steal House, Senate, governor races, DC Clothesline
(Dec. 9, 2020), available at, https://www.dcclothesline.com/2020/12/09/attorney-sidney-powell-
drops-more-bombshells-says-election-software-that-rigged-2020-elections-has-been-used-for-
years-to-steal-house-senate-governor-races/ (Ex. 63).


                                     51
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statements, and added his own commentary reflecting that he believed Powell’s defamatory

falsehoods, writing, “They have been stealing elections for years, using Dominion.”91




91
     Daniel Lynn (@daniellynn0001), Twitter (Dec. 9, 2020),                       available   at,
https://twitter.com/daniellynn0001/status/1336723643921920001 (Ex. 64).


                                     52
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       122.   Another person foreseeably republished Powell’s defamatory falsehoods about

Dominion, writing “We start with the election and Sidney Powell. She stated that this election is

[t]he most corrupt election ever. And she made a lot of people aware of Dominion – Dominion

comes from Venezuela…”92




       123.   Another person who believed Powell’s defamatory falsehoods tweeted, “There has

been so much fraud” including “Dominion machines moving Trump votes to Biden.”93




92
      Sofia      Sjoberg    (@risalusofia),   Twitter   (Dec.    8,   2020),     available    at,
https://twitter.com/risalusofia/status/1336517540059766787 (Ex. 65).
93
       Stephen       (@Stephenwc24),        Twitter   (Dec.   9,     2020),     available     at,
https://twitter.com/Stephenwc24/status/1336732043607068673 (Ex. 66).


                                     53
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       124.    One person tweeted, “Dominion et al was created in Venezuela for Chávez &

Maduro.”94




       125.    Another person succinctly summarized the devastating harm that Powell has

inflicted on Dominion’s commercial reputation, writing “Dominion is [a] fancy word for election

fraud.”95




94
      Bruce Robinson (@brsquared), Twitter (Dec. 9, 2020),                      available   at,
https://twitter.com/brsquared/status/1336725318367911936 (Ex. 67).
95
      Ivo     Boutrous    (@ivoboutros),     Twitter  (Dec.    8,   2020),      available   at,
https://twitter.com/ivoboutros/status/1336443509134548993 (Ex. 68).


                                     54
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         126.   Another person parroted Powell’s false accusation that Dominion had bribed

Governor Kemp, writing, “Did no one hear when Sidney Powell said there was evidence that many

state governors, INCLUDING KEMP, were paid off by Dominion to allow their machines to be

installed before the 2020 elections?”96




         127.   Another person tweeted, “Sidney Powell … says we will hear evidence once in

court that politicians can pay Dominion to win…She said she has evidence GovKemp ensured

it.”97




96
      Donna       G   (@DonnaG7216),      Twitter   (Dec.  8,    2020),       available   at,
https://twitter.com/DonnaG7216/status/1336477904591593472 (Ex. 69).
97
       Heathers     (@NCPatriotMom),     Twitter   (Dec.   8,    2020),       available   at,
https://twitter.com/NCPatriotMom/status/1336474913658515456 (Ex. 70).


                                     55
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       128.    As reflected in polling data about decreasing confidence in the legitimacy of the

2020 election, tens of millions of people believed Powell’s defamatory falsehoods about

Dominion. For example, before the election, 44% of Trump supporters were “not very” or “not at

all” confident in the national vote count.98 But after the viral disinformation campaign against

Dominion, 81% of Trump voters believe that voter fraud influenced the election outcome.99

       129.    Among Republicans generally, 68% are concerned that the election was “rigged”100

and 77% believe that “there was widespread voter fraud in the 2020 presidential election.”101

       130.    As of the date of this filing, a Google search of the terms “dominion,” “voting,”

and “fraud” yields over 8.4 million results; a search of the terms “dominion,” “manipulate,” and

“vote” yields over 1.9 million results; a search of the terms “boycott,” “dominion,” and “fraud”

yields over 2.8 million results; and more focused searches like “who manufactures dominion

voting machines” yields over 18.9 million results, just to name a few.

       131.    As a result of the viral disinformation campaign against Dominion, the company

and its employees have been targeted and have received calls for jail time and death threats.



98
    A Democratic Stress Test – The 2020 Election and Its Aftermath, Bright Line Watch (Nov.
2020), available at, http://brightlinewatch.org/american-democracy-on-the-eve-of-the-2020-
election/a-democratic-stress-test-the-2020-election-and-its-aftermathbright-line-watch-
november-2020-survey/ (Ex. 71).
99
   Candice Jaimungal, Three-quarters of voters think fraud occurred during the election, YouGov
(Nov.      12,     2020),      available   at,    https://today.yougov.com/topics/politics/articles-
reports/2020/11/12/voters-think-fraud-occurred-during-elec
(poll available at https://docs.cdn.yougov.com/9j7sr0my95/econTabReport.pdf) (Ex. 72).
100
    Chris Kahn, Half of Republicans say Biden won because of a ‘rigged’ election: Reuters/Ipsos
poll, Reuters (Nov. 18, 2020), available at, https://www.reuters.com/article/us-usa-election-
poll/half-of-republicans-say-biden-won-because-of-a-rigged-election-reuters-ipsos-poll-
idUSKBN27Y1AJ (poll available at https://www.ipsos.com/sites/default/files/ct/news/documents
/2020-11/topline_reuters_post_election_survey_11_18_2020.pdf) (Ex. 73).
101
     60% View Joe Biden’s 2020 Presidential Victory As Legitimate, Quinnipiac University
National Poll Finds; 77% of Republicans Believe There Was Widespread Voter Fraud, Quinnipiac
University      (Dec.      10,    2020),    available     at,   https://poll.qu.edu/national/release-
detail?ReleaseID=3685 (Ex. 74).


                                     56
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        132.    For example, one person posted, “Why isn’t every single Dominion employee in

jail for their election fraud?!!!!!!!!!”102




        133.    Another person posted, “jail dominion find them…ask allies to track them down”103




        134.    One Dominion employee received text messages stating “we are already watching

you. Come clean and you will live.”

        135.    One person left the following message on Dominion’s customer support line:

                You’re all fucking dead, You’re all fucking dead. We’re bringing back
                the firing squad and you fuckers are all dead, everybody involved up
                against the wall you motherfuckers. We’re gonna have a fucking lottery
                to fucking give people a chance to shoot you motherfuckers you fucking
                wait you cocksuckers you commie pieces of shit. We’re going to fucking


102
      Woody James (@WoodsonTJames), Twitter (Dec. 9, 2020),                       available   at,
https://twitter.com/WoodsonTJames/status/1336726130771038208 (Ex. 75).
103
      Lionslovestrump (@leonkhanin1234), Twitter (Dec 8. 2020),                   available   at,
https://twitter.com/leonkhanin1234/status/1336497514598555650 (Ex. 76).


                                     57
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               kill you all you motherfuckers. After a fair trial of course you pieces of
               shit. The American people are fucking coming for you this is the end of
               your fucking line guys your fucking days are numbered you better enjoy
               your Thanksgiving because you’ll never see another one you fucking
               cocksuckers. You will be gone soon. Happy Thanksgiving. Cock suckers.
               You’re almost done just watch and see what happens. Check out the
               executive order from September 12, 2018. You’ll see what’s going to
               happen. You’ll own nothing. You’ll be on the fucking 2030 plan because
               you’ll own nothing you fucking cocksuckers. It’s coming. Buckle your
               fucking seatbelts. Watch what’s going to happen next.

       136.    Another person sent a Dominion employee an email with the subject line, “Time is

up” and with the message, “You have 24 hours…”

       137.    And another person left the following message on Dominion’s main office line:

               Yeah, good afternoon. Fuck you, fucking scumbags. We’re gonna blow
               your fucking building up. Piece of fucking shit.

       138.    Because of these threats and numerous others, Dominion has made significant

expenditures to protect its people from harm—including by employing on-site police and security.

Since the beginning of the viral disinformation campaign, Dominion has spent more than $565,000

on private security for the protection of its people.

       139.    As a direct result of the viral disinformation campaign, Dominion has been forced

to make significant expenditures in an attempt to mitigate the harm to its reputation and business.

To date, Dominion has incurred expenses of more than $1,170,000 to that end.

       140.    Dominion is a for-profit company that generates revenue by selling voting

technology services to elected officials from both political parties.




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       141.   Just one day after Powell’s Washington, D.C. press conference, Arizona state

Congressman Warren Peterson tweeted “I’m drafting legislation to ban the use of Dominion

software and equipment from the state of Arizona. My constituents do not trust it…”104




       142.   Similarly, since Powell began her media blitz, state legislators in various states in

which Dominion has contracts—including Florida, Louisiana, Pennsylvania, Michigan, and

Pennsylvania—have stated their intent to review and reassess those contracts.

       143.   In calling for Georgia to abandon Dominion machines for the Georgia Senate runoff

elections, in falsely accusing Georgia’s Republican governor and secretary of state of accepting

bribes from Dominion, and in explicitly calling upon Georgia voters to harass, intimidate, and

imprison   Georgia’s    governor—leading     to   death   threats   to   Governor     Kemp      and

Secretary Raffensperger—Powell and Wood sent a clear warning to elected officials in Georgia

and elsewhere about what would happen to them if they contracted with Dominion or used

Dominion machines going forward.




104
      Warren Petersen (@votewarren), Twitter (Nov. 20,                   2020),     available   at,
https://twitter.com/votewarren/status/1329802399565770752 (Ex. 77).


                                     59
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          144.     As illustrated in the examples above, as a result of the viral disinformation

campaign, Dominion has been unfairly subjected to the hatred, contempt, and distrust of tens of

millions of American voters, and the elected officials who are Dominion’s actual and potential

customers have received emails, letters, and calls from their constituents demanding that they

avoid contracting with Dominion or using Dominion machines. As a result, elected officials,

insurers, and potential investors have been deterred from dealing with Dominion, putting

Dominion’s contracts in more than two dozen states and hundreds of counties and municipalities

in jeopardy and significantly hampering Dominion’s ability to win new contracts. Based on

Dominion’s historic financial track record, contract pipeline, retention and renewal rates, and new

business capture rates, as well as the nature, severity, pervasiveness, and permanence of the viral

disinformation campaign, current projections show lost profits of $200 million over the next five

years, when reduced to present value.         In addition, the viral disinformation campaign has

irreparably damaged Dominion’s reputation and destroyed the resale value of a business that was

worth between $450 million and $500 million before the viral disinformation campaign.

                 After Dominion Seeks a Retraction, Powell Repeatedly Doubles Down

          145.     On December 16, 2020, Dominion sent Powell a retraction demand letter that laid

out the facts, including that, as a result of Powell’s false accusations, Dominion had suffered

enormous harm and its employees had been stalked, had been harassed, and had received death

threats.105

          146.     Four days later, on December 20, 2020, L. Lin Wood wrote, and also shared on

Twitter, a response to a retraction request from Dominion’s competitor, Smartmatic: “I represent




105
      Retraction Demand Letter from T. Clare and M. Meier to S. Powell (Dec. 16, 2020) (Ex. 3).


                                     60
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Sidney Powell. I have carefully reviewed your letter of December 15, 2020. I am not impressed.

Ms. Powell retracts nothing.”106

       147.    Powell retweeted Wood’s tweet and added:

               Same is true for #Dominion
               Heard they wrote me too!
               Haven’t seen it but retracting nothing
               We have #evidence
               They are #fraud masters!107




       148.    Powell expected and intended to reach an audience of tens of millions when she

posted that tweet. Her tweet foreseeably reached not only her 1.2 million Twitter followers (and

the millions of followers of those liked or retweeted her post), but also the over 95 million Twitter

followers of the 10 people she tagged in the tweet, which included Donald Trump.

       149.    Five days after receiving Dominion’s retraction demand, Powell published a

“binder of information” to Zenger News, which Zenger News foreseeably republished with the


106
       Lin      Wood    (@LLinWood),       Twitter  (Dec.   20,    2020), available               at,
https://twitter.com/LLinWood/status/1340729543267667970 (Ex. 78).
107
      Sidney Powell (@SidneyPowell1), Twitter (Dec. 20, 2020), available                          at,
https://twitter.com/SidneyPowell1/status/1340760761228996614 (Ex. 4).


                                     61
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headline “Sidney Powell’s Legal Team Has Binder of Documents She Says Establish the 2020

Election was a Fraud.”108 The binder did no such thing. Instead, it repackaged already disproven

and discredited reports and declarations, some of which had never been filed in court. Indeed, no

documents in Powell’s binder had any references or indicia of any court filing or proceeding.

Several days later, Zenger News reported that despite Powell’s claims to the contrary, she

“declined to provide any new evidence of voter fraud” and the “binder of material her staff

provided to Zenger News” included only “previously published claims.”109 Powell added the link

to the Zenger News website publishing her binder to her Kraken-Wood.com website with the

caption, “READ IT: SIDNEY POWELL PUBLISHED BINDER OF ELECTION FRAUD

EVIDENCE.”

       150.   In her media binder of “evidence,” Powell repackaged and published Ramsland’s

disproven report on Antrim County, even though the publicly available facts disproving the report

were included in Dominion’s retraction demand letter to Powell.

       151.   Powell’s media binder of “evidence” also repackaged and published the declaration

of the discredited Josh Merritt—Powell’s purported “military intelligence expert” who never

actually worked in military intelligence. But since Merritt had been discredited, Powell’s media

binder puts his declaration forward as though it were written by someone else. Indeed, the only




108
    Clare Swift, Sidney Powell’s Legal Team Has Binder of Documents She Says Establish the
2020 Election was a Fraud, Zenger News (Dec. 23, 2020), available at,
https://www.zenger.news/sidney-powell-document-binder-2020-election-fraud/ (Ex. 79).
109
    David Martosko, VIDEO: Sidney Powell Wants to Fight for Donald Trump – But His Aides
Won’t Let Her, She Says, Zenger News (Dec. 27, 2020), available at,
https://www.zenger.news/2020/12/27/video-sidney-powell-wants-to-fight-for-donald-trump-but-
his-aides-wont-let-her-she-says/ (Ex. 80).


                                     62
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difference between the “new” declaration and Merritt’s declaration is the information about the

declarant’s background; the rest of the declaration is substantively identical to Merritt’s.110




       152.    In her media binder of “evidence,” Powell also repackaged and published the

declaration of the purported Venezuelan military officer that is not credible for the myriad reasons

set forth in Dominion’s retraction demand letter to Powell and above.

       153.    Several days after she published her media binder to the press, Powell posted to her

sidneypowell.com website a webpage titled “Evidence of Foreign Interference in the 2020

Election.”111 That “evidence” was comprised of an “Outline,” a “Summary,” and a “Timeline”



110
    Compare Complaint at Ex. 7, Pearson v. Kemp, No. 12-cv-04809 (N.D. Ga. Nov. 25, 2020)
[Dkt.     1-9],    available    at,     https://defendingtherepublic.org/?page_id=986          with
Defending the Republic, Foreign Ties Affidavit, (Dec. 16, 2020), available at, https://defendingth
erepublic.org/wp-content/uploads/2020/12/foreign_ties_affidavit.pdf (Ex. 102).
111
     Sidney Powell, Evidence of Foreign Interference in the 2020 Election, available at,
https://www.sidneypowell.com/evidence-of-foreign-interference (last visited Jan. 4, 2021) (Ex.
81).


                                     63
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that repeated her false claims. But Powell did not include any actual evidence in those documents.

In fact, the single footnote in her “evidence” publication is blank.112

       154.    In her “Timeline,” Powell published the knowingly false claim that “Dominion was

designed to enable vote manipulation and used to keep Hugo Chávez in power” under the heading,

“Affidavit of Venezuelan Whistleblower.”113

       155.    And in her “Summary,” Powell repeated numerous falsehoods about Dominion,

including the demonstrably false claims that Dominion and Smartmatic have a “shared origin of

the software code,” that “Dominion Voting Systems do not maintain a truly auditable trail for a

number of reasons, among them being that its audit logs are editable by operators (and by those

with unauthorized access),” that Carolyn Maloney’s letter cited “concerns about foreign influence

and control over Dominion machines,” and that “there was a 5.6% increase in votes for one

candidate for president across the entire Dominion system—with all other variables frozen.”114

Powell’s “Summary” also included the claims in Ramsland’s disproven report on Antrim County.

       156.    In the midst of publishing her binder and summaries of her already disproven and

discredited accusations, Powell also doubled down and repeated her false accusations about

Dominion on The Sean Hannity Show, The Rush Limbaugh Show, FlashPoint with Gene Bailey,

an installment of the Global Prayer for Election Integrity series, and The CATS Roundtable with

John Catsimatidis.    During her appearance on The Rush Limbaugh Show, Powell solicited

contributions to her fundraising website, saying it was a “non-profit that is working to help me




112
     See Summary Foreign Interference Draft 12. 22. 2020 at 2 n.1, available at,
https://www.scribd.com/document/489248528/Summary (last visited Jan. 4, 2021) (Ex. 82).
113
    Timeline, available at, https://www.scribd.com/document/489248529/Timeline (last visited
Jan. 4, 2021) (Ex. 83).
114
        Summary     Foreign     Interference    Draft  12.    22.  2020,    available     at,
https://www.scribd.com/document/489248528/Summary (last visited Jan. 4, 2021) (Ex. 82).


                                     64
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defend all these cases and to defend me now that I’m under massive attack from the attorney

general of Michigan and the City of Detroit and everything else.”115

       157.    On January 3, 2021, Powell tweeted in response to an Epoch Times article that

“24,658 Trump votes were removed” and “another 12,173 switched to Biden” in “just one”

Georgia county, along with the hashtags “#Dominion staff in every county” and “#Dominion

shredding documents.” That tweet reached her 1.2 million followers as well as the over 1.5 million

followers of the three people she tagged in the tweet.116




       158.    On January 4, 2021, Powell published her “Summary: Select Evidence of

Presidential Election Fraud 2020” to her sidneypowell.com website, in which she once again


115
      The Rush Limbaugh Show, iHeart Radio (Dec. 29, 2020), available                          at,
https://www.iheart.com/podcast/1119-the-rush-limbaugh-show-57927691/episode/the-rush-
limbaugh-show-podcast--75675693/ (last visited Jan. 7, 2021) (Ex. 25).
116
      Sidney Powell (@SidneyPowell1), Twitter (Jan. 3, 2021), available                        at,
https://twitter.com/SidneyPowell1/status/1345679327887843329?s=20 (Ex. 84).


                                     65
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repeated her demonstrable falsehoods about Dominion.117 In this new summary, Powell falsely

stated there was “Fraud by Dominion Voting Systems” and linked to the repurposed declaration

of Josh Merritt.     And Powell once again republished Ramsland’s disproven claims about

Dominion’s machines in Antrim County, Michigan. She concluded by urging her readers to

“FLOOD social media” and to “put pressure on state and local officials” to “decertify the

fraudulent vote.”

Incited by Powell’s Disinformation Campaign, a Violent Mob Storms the United States Capitol
             and Disrupts the Certification of the 2020 U.S. Presidential Election

          159.   On January 6, 2021, the United States Congress convened to certify the results of

the 2020 U.S. Presidential Election.

          160.   During that joint session of Congress, Republican Senate Majority Leader and

Trump loyalist Mitch McConnell called the claims Powell had been peddling for months

“sweeping conspiracy theories”118 that incited doubt “without any evidence.”119

          161.   Meanwhile, a crowd was gathering outside the White House, fueled by the

disinformation campaign launched and sustained by Powell in concert with her allies and like-

minded media outlets.

          162.   At around 2:00 p.m., a mob pushed through barricades, smashed windows, broke

down doors, and stormed into the halls of the United States Capitol. The Capitol was placed on

lockdown, buildings were evacuated, and Congress’s certification of the election was temporarily

halted.


117
        Sidney      Powell,   2020      Election   Evidence     Summary,        available,   at
https://www.sidneypowell.com/election-evidence-2020 (last visited Jan. 4, 2021) (Ex. 85).
118
     Senate Leaders McConnell and Schumer Remarks on Objection to Counting of Electoral
College      Votes,    CSPAN       (Jan.    6,   2021),    available      at,    https://www.c-
span.org/video/?c4933716/senate-leaders-mcconnell-schumer-remarks-objection-counting-
electoral-college-votes (emphasis added).
119
    Id.


                                     66
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       163.    Powell remained unapologetic. She doubled down on her lies and, after plugging

her Parler account, tweeted that the certification vote was “based on the most egregious fraud in

the history of this almost former Republic.”120 And even though the mob was, according to

Fox News, “pro-Trump,” Powell falsely blamed “Antifa” for the mayhem that she, her allies, and

like-minded media outlets had incited.




           Sidney Powell’s Law Firm and Fundraising Website are Her Alter Egos

       164.    Sidney Powell’s law firm (Defendant Sidney Powell, P.C.) and fundraising website

(Defending the Republic, Inc.) are her alter egos.

       165.    In each of her sham litigations, Sidney Powell signed her pleadings under Sidney

Powell, P.C. Likewise, the “Of Counsel” attorneys employed by her firm signed the pleadings



120
      Sidney Powell (@SidneyPowell1), Twitter (Jan. 6, 2021),                     available   at,
https://twitter.com/sidneypowell1/status/1346988845888200711?s=21.


                                     67
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under Sidney Powell, P.C. With respect to this legal work, there is no discernable difference

between Sidney Powell and Sidney Powell, P.C.

       166.    Likewise, the “Of Counsel” attorneys employed by Powell’s law firm sign

pleadings under Sidney Powell, P.C. and Defending the Republic, Inc. Julia Haller, Brandon

Johnson, and Emily Newman have been included on pleadings in at least two cases as

“Of Counsel” for Sidney Powell, P.C., including Powell’s election litigation in Arizona, Bowyer

v. Ducey, No. 2:20-cv-2321 (D. Ariz. Dec. 2, 2020), and Wisconsin, Feehan v. Wisconsin Elections

Comm’n, No. 2:20-cv-1771 (D. Wis. Dec. 1, 2020). Haller and Newman have also appeared as

“Of Counsel” for Sidney Powell, P.C. in Powell’s election litigation in Michigan, King v. Whitmer,

No. 2:20-cv-13134 (E.D. Mich. Nov. 25, 2020).

       167.    Haller has also appeared and been admitted pro hac vice to the Northern District of

Georgia in Powell’s election litigation in Georgia, Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga.

Dec. 1, 2020) [Dkt. 24], where Haller represented that she is employed by Powell’s fundraising

website, “Defending the Republic,” which has an address in the District of Columbia.




       168.    On December 27, 2020, in a complaint filed in the Eastern District of Texas,

Brandon Johnson, another “Of Counsel” attorney for Sidney Powell, P.C., and Haller further

represented that they are employed by “Defending the Republic” and listed an address in the



                                     68
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District of Columbia. See Gohmert et al. v. Pence, No. 6:20-cv-660 (E.D. Tex. Dec. 27, 2020).

On January 1, 2021, Haller was admitted to the Eastern District of Texas pro hac vice. Id.




       169.   During numerous media appearances, Powell solicited donations to her fundraising

website by making false and defamatory statements about Dominion.121


121
   See, e.g. Sidney Powell talks about her allegations regarding the computerized voting systems
on election night, Washington Examiner (Nov. 20, 2020), available at,
https://www.washingtonexaminer.com/videos/sidney-powell-talks-about-her-allegations-
regarding-the-computerized-voting-systems-on-election-night (last visited Jan. 4, 2021) (Ex. 5);
Sidney Powell on Lou Dobbs Tonight on 11/30/20, YouTube (Nov. 30, 2020), available at,
https://www.youtube.com/watch?v=4uMr-TRZNCw (last visited Jan. 4, 2021) (Ex. 6); Sidney
Powell to Newsmax TV: Our Case Was Prejudged, Newsmax (Dec. 7, 2020), available at,
https://defendingtherepublic.org/?p=1166; https://www.newsmax.com/newsmax-tv/sidney-
powell-kraken-lawsuit-scotus/2020/12/07/id/1000459/ (last visited Jan. 4, 2021) (Ex. 26);
Evidence of Fraud: Sidney Powell and Lou Dobbs discuss, Fox Business (Dec. 10, 2020),
available at, https://defendingtherepublic.org/?p=1168; https://video.foxbusiness.com/v/6215520
845001/#sp=show-clips (last visited Jan. 4, 2021) (Ex. 27); Exclusive: Sidney Powell on 2020
Election Lawsuits, Supreme Court Decision, and the Flynn Case, The Epoch Times (Dec. 13,
2020), available at, https://defendingtherepublic.org/?p=1170;
https://www.theepochtimes.com/exclusive-sidney-powell-on-election-lawsuits-supreme-court-
decision-and-the-flynn-case_3617067.html (last visited Jan. 4, 2021) (Ex. 28); Sidney Powell:
Kraken Released in MI; Scotus Next!, The John Fredericks Show (Dec. 14, 2020), available at,
https://www.johnfredericksradio.com/podcast/december-14-2020/;
https://www.youtube.com/watch?v=qWt1vB-OIZk&list=PL1q2i_zsupwSdYDFTH0pA-X-
YNz57E5TV&index=2 (last visited Dec. 29, 2020) (Ex. 29).


                                     69
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       170.    On information and belief, Sidney Powell operates and controls the content on

sidneypowell.com, her law firm’s website, federalappeals.com, and her fundraising website,

defendingtherepublic.org.      The websites are interconnected through at least ten different

hyperlinks, wherein a user can seamlessly cross between them.         Hyperlinks and “pop up”

advertisements regularly divert a user from one website to another. For example, if a user visited

sidneypowell.com, a white “pop up” directed the user to “DONATE HERE”–providing a link to

defendingtherepublic.org.122




       171.    On November 28, 2020, the domain name helpsidneypowell.com was registered.

Visitors to helpsidneypowell.com are automatically redirected to defendingtherepublic.org.

       172.    In addition, the websites publish and republish content such that the entities are

indistinguishable from one another. For example, sidneypowell.com has a section labeled “In the

Media,” where video clips of Powell’s media appearances are republished.123




122
    Sidney Powell (Dec. 20, 2020), available at, https://web.archive.org/web/20201220235533/htt
ps://www.sidneypowell.com/ (Ex. 86).
123
    Sidney Powell, available at, https://www.sidneypowell.com/ (last visited Jan. 7, 2021).


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       173.   Sidneypowell.com also provided hyperlinks to legal filings signed by Sidney

Powell, Sidney Powell, P.C., and the “Of Counsel” attorneys for Sidney Powell, P.C. and

Defending the Republic, Inc.124




       174.   Each website also prominently features a biography and headshot of Sidney Powell.

Similarly, each website links to Sidney Powell’s personal website—sidneypowell.com. Further,

sidneypowell.com and federalappeals.com link to Powell’s personal Facebook, Twitter, Parler and

YouTube page.




124
   Sidney Powell (Dec. 23, 2020), available at, https://web.archive.org/web/20201223015943/htt
ps://www.sidneypowell.com/ (Ex. 87).


                                     71
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       175.     Sidney Powell and Sidney Powell, P.C. also utilize their websites to advertise

Defending the Republic, Inc. to—and to solicit donations from—a global internet audience,

including residents of the District of Columbia and Georgia. On each of the three websites, users

are or were directed to “DONATE NOW,” “Donate to Defend,” and “Contribute to Defend the

Republic.”125




       176.     Visitors to any of the Defendants’ websites are or were invited to “donate,” but

depending on the website or hyperlink a user follows, they are or were directed to make checks



125
   Sidney Powell (Dec. 23, 2020), available at, https://web.archive.org/web/20201223015943/htt
ps://www.sidneypowell.com/ (Ex. 87);          Sidney      Powell,        P.C.,      available at,
https://www.federalappeals.com (last visited Jan. 7, 2021) (Ex. 89); Defending the Republic,
available at, https://defendingtherepublic.org/#donate (last visited Jan. 7, 2021).


                                     72
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payable to various entities. For example, on sidneypowell.com, users were directed to make

checks payable to “Sidney Powell, PC” for the “Defending the Republic Election Integrity

Fund”—instead of having the checks written to Defending the Republic, Inc.126




       177.   Meanwhile, on defendingtherepublic.org, donors were directed to make checks

payable to Defending the Republic LLC and mail them to Sidney Powell, P.C.127




       178.   There is no LLC registered in the United States with the name “Defending the

Republic LLC.”




126
    Sidney Powell (Dec. 23, 2020), available at, https://web.archive.org/web/20201223015943/htt
ps://www.sidneypowell.com/ (Ex. 87).
127
    Defending the Republic (Dec. 30, 2020), available at, https://web.archive.org/web/202012300
01629/https://defendingtherepublic.org/ (Ex. 88).


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       179.     Upon information and belief, funds donated through any of these websites were

commingled and used to bankroll Powell’s sham litigations, travel to Washington, D.C., and

Alpharetta, Georgia, and the defamatory media campaign giving rise to this case.

                             COUNT ONE – DEFAMATION PER SE
                                   (Against All Defendants)

       180.     Dominion repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       181.     Powell made the following false and defamatory statements of fact about

Dominion:

                (a) Beginning shortly after November 3, 2020, and continuing to the present day,
                    Powell falsely claimed to members of the Trump Campaign, Donald Trump,
                    numerous reporters, media outlets, and global audiences, in words or substance,
                    that Dominion rigged the election by manipulating votes, that Dominion and its
                    software were created in Venezuela to rig elections for Hugo Chávez, and that
                    Dominion bribed Georgia’s Governor and Secretary of State for a no-bid
                    contract in Georgia. In making these false claims, Powell acted in concert with
                    like-minded allies and media outlets that were determined to promote a false
                    preconceived narrative about the 2020 election, and Powell expected, intended,
                    foresaw, and facilitated the republication of her false statements to the broadest
                    possible audience.

                (b) On November 8, 2020, from within Washington, D.C., Powell appeared on the
                    Fox News program, Sunday Morning Futures with Fox News personality Maria
                    Bartiromo, and falsely stated:

                                Powell: They also used an algorithm to calculate the votes they
                                would need to flip and they used the computers to flip those votes
                                from Trump to Biden and from other Republican candidates to their
                                competitors also.
                                …
                                Bartiromo: We talked about the Dominion software. I know that
                                there were voting irregularities. Tell me about that.
                                Powell: That’s to put it mildly. The computer glitches could not
                                and should not have happened at all. That is where the fraud took
                                place where they were flipping votes in the computer system or
                                adding votes that did not exist.
                                …


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                          They had this all planned, Maria. They had the algorithms. …
                          That’s when they had to stop the vote count, and go in and replace
                          votes for Biden and take away Trump votes.128




           (c)   On November 9, 2020, Powell tweeted the following false statement of fact:

                          It’s not a “glitch.” It’s a feature of #Dominion designed to allow
                          #Democrats to steal votes of #Americans.129




           (d)   On November 11, 2020, Powell tweeted the following false statement of fact:




128
    Sunday Morning Futures with Maria Bartiromo Sydney Powell ELECTION FRAUD, Fox
News (Nov. 9, 2020), available at, https://defendingtherepublic.org/?p=1164;
https://www.youtube.com/watch?v=g6swRH38oKs&list=PLnpdXA3HSORvJoUVwtdrX2cMu
m5d9I8x7&index=28 (last visited Jan. 4, 2021) (Ex. 90).
129
    Sidney Powell (@SidneyPowell1), Twitter (Nov. 9, 2020), available at,
https://twitter.com/SidneyPowell1/status/1325820207768633345?s=20 (Ex. 91).


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                            Nefarious actors tried to steal the election from
                            @realDonaldTrump and the Liberty loving #Patriots of this
                            country through #Dominion voting machines.130




             (e)   On November 13, 2020, from within Washington, D.C., Powell appeared on
                   the Fox Business program Lou Dobbs Tonight with Fox personality Lou
                   Dobbs, and falsely stated:

                            Well, I can hardly wait to put forth all the evidence we’ve collected
                            on Dominion, starting with the fact it was created to produce altered
                            voting results in Venezuela for Hugo Chávez and then shipped
                            internationally to manipulate votes for purchase in other countries
                            including this one.
                            …
                            We also need to look at and we’re beginning to collect evidence on
                            the financial interest of some of the governors and secretaries of
                            state who actually bought into the Dominion systems, surprisingly
                            enough. Hunter-Biden-type graft to line their own pockets by
                            getting a voting machine in that would either make sure their
                            election was successful or they got money for their family from it.
                            …
                            People need to come forward now and get on the right side of this
                            issue and report the fraud they know existed in Dominion voting
                            systems because that’s what it was created to do. It was its sole
                            original purpose. It has been used all over the world to defy the will
                            of people who wanted freedom.131




130
    Sidney Powell (@SidneyPowell1), Twitter (Nov. 11, 2020), available at,
https://twitter.com/SidneyPowell1/status/1326622101772570624?s=20 (Ex. 92).
131
    Sidney Powell with Lou Dobbs: Release the Kraken, YouTube (Nov. 14, 2020), available at,
https://www.youtube.com/watch?v=SFCXPw1t17o (last visited Jan. 4, 2021) (Ex. 93).


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         (f)   On November 15, 2020, Powell appeared on the KPTM program America
               This Week with Eric Bolling, and falsely stated:

                      Powell: It works through the Dominion company’s votes machines
                      that were in 30 states and does indeed alter and flip voting results.
                      …
                      Powell: It’s a feature of the system that was designed with a back
                      door so that people could watch in real time and calculate with an
                      algorithm how many votes they needed to change to make the result
                      they wanted to create.
                      …
                      Bolling: Dominion voting machines were in numerous states,
                      numerous counties. There is some sort of software back door not
                      unlike most phones will have a back door, but this will actually
                      calculate and tell the person accessing the back door what type of
                      voting percentages and what type of numbers are needed to change
                      the win for a certain party, for a certain candidate?
                      Powell: Exactly. They can watch the voting real time. They run a
                      computer algorithm on it as needed to either flip votes, take votes
                      out, or alter the votes to make a candidate win.
                      …
                      Bolling: You are saying there’s an actual way to change the total,
                      the vote tallies within the system?
                      Powell: That’s exactly right.
                      …



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                           Powell: It’s massive criminal voter fraud, writ large, across at least
                           29 states it could have been happening. Any time a voting machine
                           was connected to the internet, and we have evidence many were, it
                           was obviously happening. It’s obvious from the algorithm and the
                           statistics that our experts are tracking out for batches of votes and
                           when the curves changed.132




             (g)   On November 15, 2020, from within Washington, D.C., Powell appeared on
                   the Fox News program, Sunday Morning Futures with Fox News personality
                   Maria Bartiromo, and falsely stated:

                           President Trump won by not just hundreds of thousands of votes but
                           by millions of votes that were shifted by this software that was
                           designed expressly for that purpose.
                           We have sworn witness testimony of why the software was
                           designed. It was designed to rig elections.
                           …
                           It was exported internationally for profit by the people that are
                           behind Smartmatic and Dominion. They did this on purpose. It was
                           calculated. They’ve done it before. We have evidence from 2016
                           in California. We have so much evidence I feel like it’s coming in
                           through a fire hose.
                           …
                           This is a massive election fraud, and I’m very concerned it involved
                           not only Dominion and its Smartmatic software but that the software

132
   One-on-one with Sidney Powell, KPTM (Nov. 15, 2020), available at,
https://app.criticalmention.com/app/#clip/view/3de8b395-d807-4ba7-9855-
0af62dc1a005?token=37f52d99-127d-4b48-b8dc-e5e99babfaaa (last visited Jan. 4, 2021) (Ex.
94).


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                             essentially was used by other election machines also. It’s the
                             software that was the problem.
                             …
                             They can put, it’s like drag-and-drop, Trump votes to a separate
                             folder and then delete that folder.
                             …
                             We’ve even got evidence of some kickbacks essentially.
                             …
                             We’re collecting evidence now from various whistleblowers that are
                             aware of substantial sums of money being given to family members
                             of state officials who bought this software. I mean, we’re talking
                             about $100 million packages for new voting machines suddenly, in
                             multiple states, and benefits ranging from financial benefits for
                             family members to sort of what I would call election insurance,
                             because they know that they can win the election if they are using
                             that software.
                             …
                             We’ve identified mathematically the exact algorithm they used and
                             planned to use from the beginning to modify the votes in this case
                             to make sure Biden won.
                             …
                             It’s massive election fraud. It’s going to undo the entire election.133




133
   Attorney Powell on election legal challenges that remain active in several states, Fox News
(Nov. 15, 2020), available at,
https://video.foxnews.com/v/6209930642001?playlist_id=3386055101001#sp=show-clips (last
visited Jan. 4, 2021) (Ex. 95).


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         (h)   On November 16, 2020, Powell appeared on The Rush Limbaugh Show radio
               show hosted by Mark Steyn, and falsely stated:

                       Steyn: What’s the problem for you, with this Dominion Voting
                       Systems?
                       Powell: Well, there are so many problems, Mark, it would be hard
                       to articulate all of them. Their system was specifically created and
                       designed by Venezuelan money and interests to rig elections for
                       Hugo Chávez.           And then for Maduro, it was exported
                       internationally, understand, to rig an election in Argentina. And it
                       has been used to rig this election for to make it appear the votes were
                       for Mr. Biden when Donald Trump won overwhelmingly.
                       …
                       Any number of batches of votes were changed by the machine,
                       which is by its own manual, tells people it can do that. It was
                       changed to run 67 percent for Biden and votes were injected in that
                       number by the hundreds of thousands, multiple times the exact same
                       number and ratio were injected like three times in Wisconsin and
                       twice in Michigan or vice versa. A couple of 20 minutes apart or
                       something. … And for people to say, ‘there’s no evidence of fraud,’
                       or the people that want to cover up the fraud for whatever their
                       personal interests are—We also have some evidence coming in that
                       people who bought these Dominion systems for their states got
                       special benefits on the side.
                       …
                       Steyn: You said, if I understood you correctly, that they can actually
                       program the percentages of as it were. They can actually override
                       whatever votes are in the machine and adjust them up and down until
                       they reach the -- why would that be a feature of a voting machine?
                       Powell: Because it was created to do that to begin with. That’s how
                       Hugo Chávez and Maduro have ensured they won every Venezuelan
                       election.
                       Steyn: So somehow a Canadian company wound up putting
                       Venezuelan counting machines in 33 American states. That’s the
                       upshot of that, Sidney.
                       Powell: Yeah, it was all created in Venezuela and designed to do
                       this very thing. And they’ve installed Venezuelan machines and
                       then the votes actually go to Barcelona, Spain, and Frankfurt,
                       Germany, where they can be further manipulated before they’re sent
                       back to be reported on AP and The New York Times and all that. It
                       was caught this big this time was because Donald Trump’s lead was
                       so overwhelming, they didn’t calculate the algorithm high enough.
                       …


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                           You might as well call them Venezuelan machines because that’s
                           essentially what they are. … And yes, we have Venezuelan
                           communists influenced by Cuban communists counting our votes,
                           and deciding how our election is going to come out.
                           …
                           There are multiple means of how they alter it. They alter it to begin
                           with by running the algorithm where they want to run it. But they
                           can also alter it by trashing votes, adding votes. And then if they
                           don’t like it still, then they can change it again in Barcelona.134
             (i)   On November 16, 2020, Powell appeared by telephone on Fox Business
                   program Lou Dobbs Tonight, and falsely stated:

                           Dobbs: Dominion Voting Systems seems to be figuring larger and
                           larger in the interest of your legal team. And, what is the latest?
                           Powell: Oh definitely, Lou. I’ve just gotten some stunning evidence
                           from a first-hand witness, a high-ranking military officer who was
                           present when Smartmatic was … designed in a way that the system
                           could change the vote of each voter without being detected. He
                           wanted the software itself to function in such a manner that if the
                           voter were to place their thumbprint or fingerprint on a scanner, then
                           the thumbprint would be tied to a record of the voter’s name and
                           identity as having voted but that voter would not be tracked to the
                           changed vote. He made it clear that the system would have to be set
                           up but not leave any evidence of the changed vote for a specific voter
                           and that there would be no evidence to show and nothing to
                           contradict that the name or fingerprint or thumbprint was going with
                           a changed vote. Smartmatic agreed to create such a system and
                           produce the software and hardware that accomplished the result for
                           President Chávez. After the Smartmatic Electoral Management
                           System was put in place, he closely observed several elections
                           where the results were manipulated with the Smartmatic software.
                           …
                           Persons controlling the vote tabulation computer had the ability to
                           change the recording of votes by moving votes from one candidate
                           to another by using the Smartmatic software. And Smartmatic owns
                           Dominion.
                           …




134
   The Rush Limbaugh Show, iHeart Radio (Nov. 16, 2020), available at,
https://www.iheart.com/podcast/1119-the-rush-limbaugh-show-57927691/episode/the-rush-
limbaugh-show-podcast--73947607/ (last visited Jan. 4, 2021) (Ex. 96).


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                            And the Smartmatic software is in the DNA of every vote-tabulating
                            company’s software and systems.135




             (j)   On November 17, 2020, Powell appeared on the Newsmax program Greg
                   Kelly Reports, and falsely stated:

                            Powell: And we know Dominion and has a long history of rigging
                            elections. That’s what it was created to do to begin with.
                            …
                            And worse than that, it had a backdoor so it could be manipulated
                            by anyone who could access it through that backdoor and that was a
                            deliberate feature. The affidavit of the young military officer we
                            provided yesterday to the public explains how it was created for that
                            very purpose so Maduro, I mean so Hugo Chávez, would never lose
                            another election and he did not after that software was created. He
                            won every single election and then they exported to Argentina and
                            other countries in South America and then they brought it here.
                            …
                            We’ve got the evidence from mouth of the guy who founded the
                            company. I haven’t had a chance to get that out to the public yet but
                            they admit -- the founder of the company admits he can change a
                            million votes, no problem at all.
                            …
                            Kelly: The founder of Dominion admitted a long time ago?
                            Recently to you? Tell us more, please.


135
   The Affidavit: Sidney Powell With Lou Dobbs, YouTube (Nov. 16, 2020), available at,
https://www.youtube.com/watch?v=n_p1sonhp-k (last visited Jan. 4, 2021) (Ex. 48).


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                           Powell: Publicly. I will tweet out the video later and I will tag you
                           in it.
                           …
                           The only the reason the glitches happened in the system was because
                           he was so – had so far many more votes than they had calculated in
                           advance, their algorithms wouldn’t perform the functions they had
                           originally performed or were set to perform. They couldn’t make
                           up the vote count, he had gotten so many hundreds of thousands
                           more than they planned. So that’s when they had to stop the
                           counting and come up with a way to backfill the votes or destroy
                           votes for Trump while they fabricated votes for Biden.136




            (k)   On November 19, 2020, Powell appeared at a press conference in
                  Washington, D.C., with Giuliani and Ellis, and falsely stated:

                           The Dominion Voting Systems, the Smartmatic technology
                           software and the software that goes in other computerized voting
                           systems here as well, not just Dominion, were created in Venezuela
                           at the direction of Hugo Chávez to make sure he never lost an
                           election after one constitutional referendum came out the way he did
                           not want it to come out.
                           …
                           Now, the software … its most characteristic feature is its ability to
                           flip votes. It can set and run an algorithm that probably ran all over
                           the country to take a certain percentage of votes from President

136
   Sidney Powell to Newsmax: Dominion Designed to ‘Rig Elections,’ Newsmax (Nov. 17,
2020), available at, https://www.newsmax.com/newsmax-tv/sidney-powell-dominion-voting-
systems/2020/11/17/id/997526/ (last visited Dec. 4, 2020) (Ex. 30).


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                      Trump and flip them to President Biden, which we might never have
                      uncovered had the votes for President Trump not been so
                      overwhelming in so many of these states that it broke the algorithm
                      that had been plugged into the system, and that’s what caused them
                      to have to shut down in the states they shut down in.
                      …
                      One of the leaders of the Dominion project overall is Lord Malloch
                      Brown, Mr. Soros’s number two person in the U.K. and part of his
                      organization.
                      …
                      People can admittedly go in and change whatever they want. They
                      can set the ratio of votes from one thing to another. They can say a
                      Biden vote counts as 1.25 and a Trump vote counts as .75. Those
                      may be the numbers that were actually used here. It’s not just the
                      swing states that were affected. The algorithm was likely run across
                      the country to affect the entire election.
                      …
                      There’s been no oversight of Dominion or its software. Workers in
                      each county were trained by Dominion, but there’s no evidence of
                      any monitoring otherwise. We have testimony of different workers
                      admitting that they were trained how to dispose of Trump votes and
                      add to Biden votes. The software has a feature pursuant to which
                      you can drag and drop any number of batches of votes to the
                      candidate of your choice or simply throw them away. So, we have
                      mathematical evidence in a number of states of massive quantities
                      of Trump votes being trashed—just simply put in the trash like you
                      would on your computer with any file and Biden votes being
                      injected. That’s addition to the flipping. I mean, it really happens
                      in two ways. There’s an algorithm that runs that automatically flips
                      all the votes, and then each operator has the ability to go in, override
                      settings. They can ignore signature, they can ignore the top line of
                      the ballot, they can go down ballot and select who they want to
                      change results for.
                      …
                      There’s evidence of different benefits being provided to the people
                      who spent a hundred million dollars of taxpayer money at the last
                      minute for their state to get the Dominion Voting Systems put in in
                      time for this election in different ways. There’s one person that a
                      lawyer told me got, quote, election insurance, meaning that he
                      would be able to make sure he was elected.
                      …




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                            This is the consummate foreign interference in our election in the
                            most criminal way you can possibly imagine.
                            …
                            We know for example one of the Dominion’s highest levels
                            employees or officers went to Detroit himself to man the Detroit
                            operation center where he could watch the votes coming in real time
                            and decide which file folder in the system to put those votes into.
                            That’s why you see massive spikes after hours when people were
                            told that all of the votes were in, and all of the votes were counted.
                            …
                            There is no reasonable explanation for the up-shoots. The straight
                            lines up. I’m not even talking about an angle, I’m talking about
                            some massive straight lines up in the vote tallies in the middle of
                            night after they supposedly stopped counting. And that’s when the
                            Dominion operators went in and injected votes and changed the
                            whole system.137




             (l)   On November 19, 2020, Powell appeared by telephone on the Fox Business
                   program Lou Dobbs Tonight, and, after being introduced as a member of
                   Trump’s legal team, falsely stated:

                            The fact is that the Dominion machines run the Smartmatic software
                            or parts of the key code of it, and that is what allows them to
                            manipulate the votes in any way the operators choose to manipulate

137
    Trump Campaign News Conference on Legal Challenges, CSPAN (Nov. 19, 2020), available
at, https://www.c-span.org/video/?478246-1/trump-campaign-alleges-voter-fraud-states-plans-
lawsuits (last visited Jan. 4, 2021) (Ex. 32).


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                            them. And every time there was a glitch they called it or a
                            connection to internet, they also violated state laws that required the
                            machines to be recertified and nothing to be changed before the vote.
                            …
                            It could have run an automatic algorithm against all the votes which
                            is we believe what happened originally and then the machines had
                            to stop and the recount—or the counting had to stop in multiple
                            places because President Trump’s lead was so great at that point,
                            they had to stop the vote counting and come in and backfill the votes
                            they needed to change the results.
                            …
                            There’s thousands of people in federal prison on far less evidence of
                            criminal conduct than we have already against the Smartmatic and
                            Dominion Systems companies.138




             (m)   On November 20, 2020, Powell appeared on the Fox Business program,
                   Mornings with Maria with Maria Bartiromo and falsely stated:

                            Bartiromo: I want to first start off with your response to what
                            Dominion says. Dominion is calling all of the allegations that you
                            and Rudy Giuliani and Jenna Ellis have made absurd. Your
                            response?




138
   Sidney Powell Follows Up With Lou Dobbs About Today’s Press Briefing, YouTube (Nov.
19, 2020), available at, https://www.youtube.com/watch?v=X-53TpxRtxI (last visited Jan. 4,
2021) (Ex. 49).


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                           Powell: They created this system in Venezuela for Hugo Chávez to
                           rig the elections, and make sure he won. They sold that for that
                           purpose to other countries and they brought it to this country for that
                           very purpose and they’ve used it that way. We’ve got evidence that
                           shows it.
                           …
                           Bartiromo: What about this comment from the Dominion side
                           saying ‘we have no ties to Venezuela.’ What specifically are the ties
                           to Venezuela? …. Dominion is saying ‘we have no ties to
                           Venezuela, no ties to Cuba.’ Can you explain that?
                           …
                           Powell: … I can tell you that the company was started with
                           Venezuelan money in Venezuela for the express purpose of rigging
                           elections for Hugo Chávez. We have people that were there at his
                           side while it was all done. They were in the control room and
                           watched how the votes were flipped they can watch the votes in real
                           time.139




            (n)    On November 20, 2020, Powell appeared on the Washington Examiner
                   podcast Examining Politics and made the following false statements:

                           O’Connor: I think that much of the discussion of your appearance
                           yesterday, Sidney Powell, was centered around the charges that you
                           made with regard to the computerized ballot system and the
                           software. And I know, I’m not going to insult your intelligence to
                           suggest that here on the radio, you’re going to present some sort of

139
   Sidney Powell fires back at Tucker Carlson on Maria Bartiromo morning show, Fox News,
YouTube (Nov. 20, 2020), available at,
https://www.youtube.com/watch?v=QRptwxOy8sc&t=14s (last visited Jan. 4, 2021) (Ex. 105).


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                      evidence that you would normally present in open court. My interest
                      is more in what type of evidence you could produce. Is the
                      allegation here that there is a type of backdoor in the software
                      system and people accessed that and just created vote tallies that did
                      not exist? …
                      Powell: Their system even admits, their own training manual admits
                      that people can go in and do that. That people can go in and put all
                      kinds of votes in a ‘trash’ folder and then ‘trash’ them.
                      …
                      There are devices on the internet that can be used to see it, and we
                      have multiple people who actually saw it as it was happening, an so
                      we essentially have some pictures of it. And it is terrifying and it is
                      a huge national security issue…
                      Dominion is closing its offices and moving; no doubt they’re
                      shredding documents and God only knows what else.
                      …
                      Well, you know, all they did was create a shell company in the
                      United States, but they’re completely intertwined, they share office
                      space with one of George Soros’s groups. His number 2 man heads
                      up the operation out of England. But the money for it was all funded
                      from Venezuela, and Cuba, and communists, and they did it. We’ve
                      got an eyewitness to all of it who’s has given a sworn affidavit that
                      he saw it all done, and the purpose it was done for was to rig
                      elections.
                      …
                      O’Connor: There was supposed to be a hearing in the state of
                      Pennsylvania today with a representative from Dominion. They had
                      volunteered to come in and answer questions from the state
                      government committee overlooking these things. And at the last
                      minute this morning, they backed out and decided that they didn’t
                      want to face the lawmakers in Pennsylvania. Have you heard about
                      this?
                      Powell: Yes, I did hear about that and I’m sure they’re now all
                      hiring lawyers and everything else because they knew exactly what
                      they were doing. They advertised these features of their machines.
                      … They paid kickbacks and benefits to families of public officials
                      who bought, uh got them their government contracts.
                      …
                      What I remain just absolutely appalled about is the failure of the
                      government to seize the Dominion machines in every state and every
                      place. And it’s not just the Dominion machines, Larry. The same



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                              DNA code of the corrupt system is in other voting machines around
                              the country too.
                              …
                              O’Connor: The recount was just certified. The people of Georgia,
                              the Secretary of State there claims that, ‘you know, listen, we looked
                              at it all, we audited it all, and the paper ballots match what the
                              computers said.’ How do you respond?
                              Powell: That’s a lie. Well, it might have. I mean, you can run the
                              same corrupted ballots through a machine and come out with the
                              same thing. That really doesn’t prove anything. … Not to mention
                              the Secretary of State of Georgia and the Governor of Georgia
                              rushed to buy, to give a $100 million contract to Dominion, I think
                              in 2019, which is not that long ago before the election started. …
                              We have one lawyer that has told me that they got essentially
                              kickbacks and benefits for their families from doing that, not to
                              mention what I would call election insurance, knowing that they
                              would be elected or reelected in the process.140
              (o)   On November 21, 2020, Powell appeared for a telephonic interview on
                    Newsmax with Rob Schmitt and Mark Halperin and falsely stated:

                              Powell: Everybody saw it election night. They saw votes being
                              subtracted from President Trump and appearing on the Biden side
                              of the scale and that’s exactly what this Dominion system was
                              designed to do and we have eyewitness testimony to its entire
                              creation for that very purpose.
                              …
                              But now they can literally drag and drop hundreds of thousands of
                              votes wherever they want them. Everybody knew when they bought
                              the system and that was one of the features of the system.
                              …
                              We the people in voting for Trump in a landslide election had
                              essentially broken the algorithm that had been pre-programmed into
                              the machine. … they just injected numbers or trashed votes for
                              Trump otherwise and changed the numbers.
                              …
                              Mr. Kemp and the Secretary of State … are in on the Dominion scam
                              with their last-minute purchase and reward of a contract to

140
   Sidney Powell talks about her allegations regarding the computerized voting systems on
election night, Washington Examiner (Nov. 20, 2020), available at,
https://www.washingtonexaminer.com/videos/sidney-powell-talks-about-her-allegations-
regarding-the-computerized-voting-systems-on-election-night (last visited Jan. 4, 2021) (Ex. 5).


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                      Dominion for $100 million. The state Bureau of Investigations for
                      Georgia better be looking into financial benefits received by Mr.
                      Kemp and the Secretary of State’s family about that time. Another
                      benefit Dominion was created to reward is what I would call election
                      insurance; that’s why Hugo Chávez had it created in the first place.
                      …
                      Georgia is extremely bad: we’ve got … the votes being switched,
                      the algorithms being run. You name the manner of fraud, and it
                      occurred in Georgia.
                      …
                      Yeah, and I think the algorithm ran most probably across the country
                      … And it looks like 35,000 votes were added to every Democratic
                      candidate.
                      ….
                      Schmitt: You also talked about this ability of the system, and I
                      thought this was so interesting when you said that, it could take a
                      vote and it can make a vote for Biden worth more than a vote for
                      Trump. Do you think that that happened or is that another part of the
                      system that maybe wasn’t used?
                      Powell: No, I think that definitely happened. I think that was the
                      first step with the system. To weight the votes so that a Biden vote
                      is worth 1.23, say, and a Trump vote is worth the rest of that. And
                      so the Trump vote is about three-quarters and the Biden vote is one-
                      and-a-quarter.
                      …
                      We’re seeing essentially the same things in Michigan, except larger
                      number of ballots being stuffed in. It’s the old-fashioned stuffing
                      the ballot box. They’re just doing it by computer instead of by
                      paper. That’s really all it is. They’re dragging and dropping files of
                      votes from one person to another instead of just stuffing paper
                      ballots in the ballot box.
                      …
                      I’m telling you, it’s been used for both parties. One of the big
                      problems is that we don’t know who was elected by buying their
                      election through Dominion. … And there’s no telling how many
                      congressional candidates should have won that lost by the addition




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                            of 35,000 votes for Democrat or the algorithm that they were
                            running against whoever they want to target.141




            (p)    On or before November 23, 2020, Powell published the following false
                   statement to CBS News, intending, expecting, and reasonably foreseeing that
                   they would publish it to their audience; CBS News did so on November 23,
                   2020:

                            I will continue to represent #WeThePeople who had their votes for
                            Trump and other Republicans stolen by massive fraud through
                            Dominion and Smartmatic. 142
            (q)    On November 23, 2020, The Epoch Times published the following false
                   statement after Powell had published it to The Epoch Times, intending,
                   expecting, and reasonably foreseeing that that The Epoch Times would
                   republish it to their audience.

                            Attorney Sidney Powell has also alleged that Dominion software
                            was used to switch votes in the voting machines. Powell, in a
                            statement, wrote, “The evidence I’m compiling is overwhelming
                            that this software tool was used to shift millions of votes from
                            President Trump and other Republican candidates to Biden and
                            other Democrat candidates,” she added.143

141
    Sidney Powell: It will be BIBLICAL, Newsmax TV (Nov. 21, 2020), available at,
https://www.youtube.com/embed/Y68pEknYyCM?rel=0&start=0 (last visited Jan. 4, 2021) (Ex.
36).
142
    Kathryn Watson, Trump legal team disavows association with lawyer Sidney Powell, CBS
News (Nov. 23, 2020), available at, https://www.cbsnews.com/news/sidney-powell-disavowed-
by-trump-campaign/ (Ex. 38).
143
    Masooma Haq, Former Republican Candidate Alleges Hard Evidence of Corruption in US
Election System, The Epoch Times (Nov. 23, 2020), available at,


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            (r)   On November 24, 2020, Powell appeared by telephone on the Fox Business
                  program, Lou Dobbs Tonight, and falsely stated:

                          There’s no doubt that the software was created and used in
                          Venezuela to control the elections and make sure that Hugo Chávez
                          was always reelected as the dictator of Venezuela in what appeared
                          to be, quote, free and fair elections, end quote. But they were
                          manipulated by the software used in the Dominion machines and
                          used by other machines in the United States, frankly, and we’re just
                          continuing to be inundated by evidence of all the frauds here.144




            (s)   On November 28, 2020, Powell appeared via telephone on Newsmax with
                  Tom Basile and Mark Halperin, and falsely stated:

                          It was designed to manipulate the votes and destroy the real votes of
                          American citizens who were casting legal votes. That applies to
                          Georgia as well. I have serious concerns that certain people, in fact
                          one lawyer told me that one of his clients knew of money or benefits
                          being paid to family members of those who signed the contract for
                          Georgia. And I believe it was a no-bid contract that Georgia
                          awarded for the Dominion systems, a $100 million no bid contract.
                          …
                          We’re seeing every manner and means of fraudulent voting you can
                          possibly think of … from the point shaving system that Dominion
                          systems allows, they weighted votes for President Trump at .77%
                          and they awarded votes to Biden at something like 1.22%. So

https://www.theepochtimes.com/expert-hard-evidence-of-corruption-in-us-election-
system_3590417.html (Ex. 39).
144
    BREAKING NEWS: Sidney Powell Tells Lou Dobbs Her Lawsuit in Georgia May Be Filed As
Soon As Tomorrow, YouTube (Nov. 24, 2020), available at,
https://www.youtube.com/watch?v=KpT2Rz4rTWM (last visited Jan. 4, 2021) (Ex. 40).


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                           Biden’s votes were weighted an additional 20% to that of President
                           Trump’s which automatically flipped approximately 2.7% of the
                           vote to Biden in any number of counties if not across the entire state.
                           …
                           It was designed to enable those sorts of vote flipping and switching
                           and the ability to trash votes in large numbers so that Mr. Biden
                           would win without campaigning.145




             (t)   On November 30, 2020, Powell appeared on the Fox Business program Lou
                   Dobbs Tonight and falsely stated:

                           We need, frankly, to stop the election that’s supposed to happen in
                           January because all the machines are infected with the software code
                           that allows Dominion to shave votes for one candidate and give them
                           to another and other features that do the same thing.
                           …
                           The system was set up to shave and flip different votes in different
                           states. Some people were targeted as individual candidates. It’s
                           really the most massive and historical egregious fraud the world has
                           ever seen.
                           …
                           It seems there were significant benefits for both Governor Kemp and
                           perhaps Mr. Raffensperger also and maybe others on their team for
                           deciding at the last minute to rush in a contract for Dominion for
                           $107 million for the state.


145
   Sidney Powell to Newsmax TV: Dominion Contracts Warrant Criminal Probe, Newsmax
(Dec. 28, 2020), available at, https://www.newsmax.com/newsmax-tv/sidney-powell-georgia-
lawsuit-contract/2020/11/28/id/999106/ (last visited Jan. 4, 2021) (Ex. 97).


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                            …
                            Dominion and its minions and other state officials everywhere are
                            apparently out there trying to destroy everything they can get to
                            before we can seize it.146




             (u)   On December 2, 2020, Powell and Wood co-led and spoke at the “Stop the
                   Steal” rally in Alpharetta, Georgia, where Powell falsely stated:

                            There was and is still massive voter fraud across this country. It
                            took all forms, it was not just the Dominion machines. We have
                            experts and a witness who have explained to us that the fraud exists
                            in the DNA of all the software that was run by any voting system in
                            the country … I think we will eventually find that the algorithm that
                            flipped votes at a certain percentage from Trump to Mr. Biden was
                            run all across the country … And then we have the extraordinary
                            evidence of inexplicable spikes, I mean hundreds of thousands of
                            spikes in votes. We can see them injected into the system,
                            sometimes at a rate of 90% for Biden and 10% for Trump.
                            …
                            There should not be a run-off, certainly not on Dominion machines.
                            I think I would encourage y’all Georgians to make it known that you
                            will not vote at all until your vote is secure.
                            …
                            We expect that in Venezuela, unfortunately, where the Dominion
                            systems and Smartmatic technology first took root and was used to
                            ensure the election of Hugo Chávez, the brutal dictator.


146
   Sidney Powell on Lou Dobbs Tonight on 11/30/20, YouTube (Nov. 30, 2020), available at,
https://www.youtube.com/watch?v=4uMr-TRZNCw (last visited Jan. 4, 2021) (Ex. 6).


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                             …
                             So we need to flood the legislators here in Georgia, and the
                             Governor and the Secretary of State with phone calls and letters.
                             …
                             [In response to a question about why Georgia’s paper ballot recount
                             did not reveal discrepancies between the number of paper ballots
                             and the counts from the Dominion machines, Powell stated:]
                             Georgia did not do a full hand recount of the ballots. In the one
                             county where they did do the hand recount, we found exactly what
                             you’re talking about. It was a small precinct. I don’t remember the
                             total number of votes but they flipped 37 from Trump to Biden in
                             this very small precinct. It was .52 or 52% I think of the votes there.
                             So they weighted Biden votes at 1.52 and they weighted Trump
                             votes at .48 when the votes went into the machine to change them.
                             …
                             The machines are actually built to even try to alter the audit trail for
                             them.
                             …
                             It’s the first time it’s been so blatant and that’s because so many of
                             you across the country voted for Donald Trump that you broke the
                             algorithm.147




147
   Sidney Powell, Lin Wood attend ‘Stop the Steal’ rally in Georgia, YouTube, (Dec. 2, 2020),
available at, https://www.youtube.com/watch?v=pq-_B5z3QIA (last visited Jan. 4, 2021) (Ex.
44).


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             (v)   On December 3, 2020, Powell appeared via telephone on The John Fredericks
                   Show, which was broadcast from Atlanta, Georgia, and falsely stated:

                            We’re getting evidence of every manner and means of voter and
                            election fraud you can imagine, but to know now that the voting
                            machines have been rigged. And it’s not just Dominion. The same
                            DNA code is in most of the machines that run across the country,
                            maybe not to the extent Dominion did. In fact, I saw a report
                            yesterday that Dominion machines average 6% more for Biden than
                            any of the others.
                            …
                            The interesting thing is the disparity between the places where
                            Dominion is and all other places. And one of the things we know
                            is, from prior use and testimony, that Dominion machines can flip
                            2.7% - 3% of the vote from Trump to Biden easily. That’s kind of
                            what they’ve run many times before. And that stands to reason that
                            that accounts for the 6% up for Biden where the Dominion machines
                            were operating.
                            …
                            We have direct witnesses who know why it was created, how it was
                            created, watched it being used, was briefed on all its features. Their
                            own online manual tells people they can drag and drop votes into
                            the trash. They put them in this thing called an adjudication file,
                            however many they want to. They can program the computer not to
                            read signatures and therefore reject thousands of ballots. Put them
                            in quote an adjudication file and then just trash it all. … We have
                            the witness who watched it all work. He was in the control room
                            when Dominion was rigging the elections in Venezuela.
                            …
                            You don’t just add 350,000 Biden votes all of a sudden at 3 o’clock
                            in the morning. That’s like flipping a coin 350,000 times and it
                            always lands on heads. It doesn’t happen. It’s a mathematical and
                            statistical impossibility…they can literally just make up a number
                            and inject it into the system.
                            …
                            The Trump landslide was so overwhelming that it broke the
                            algorithm.148


148
   Sidney Powell: “I Have Direct Evidence of Vote Fraud on the Biggest Scale in World
History,” The John Fredericks Show (Dec. 3, 2020), available at,
https://www.johnfredericksradio.com/podcast/december-3-2020/;
https://www.youtube.com/watch?v=QKzqvtxdwfA (last visited Jan. 3, 2021) (Ex. 98).


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            (w)   On December 5, 2020, Powell appeared on Huckabee with Mike Huckabee
                  and falsely stated:

                           The system right now is corrupt. Dominion machines cannot be
                           relied on at all, and we want everyone, Republicans, the candidates,
                           to stand up and speak out about the fraud that happened in Georgia.
                           …
                           We know the Dominion machines were created for the very purpose
                           of altering the vote count to ensure the election of people like Hugo
                           Chávez and Maduro in Venezuela. The Same thing is happening
                           here now.149




149
   EXCLUSIVE: Sidney Powell Suspects CIA in RIGGING Elections, Huckabee (Dec. 5, 2020),
available at, https://www.youtube.com/watch?v=dNK-
LrrzxcE&list=PLp0iqOAbW0sZh0FqV39gW4NEwn-N0Rp0L (Ex. 99).


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             (x)   On December 7, 2020, Powell appeared on Newsmax program Greg Kelly
                   Reports, and falsely stated:

                           We focus also on the systemic problem with the Dominion
                           machines. We have an expert who has identified that the vote for
                           Biden was 5% overall greater where there were Dominion machines
                           than any of the other votes. That is essentially the amount of votes
                           you can flip, and brag about being able to flip ... these machines
                           were created in Venezuela and the entire process was started there
                           to make sure Mr. Chávez won every election ... This is the same
                           technology, the same equipment. It came out of Venezuela to be
                           used here.150




150
    Sidney Powell to Newsmax TV: Our Case Was Prejudged, Newsmax (Dec. 7, 2020), available
at, https://defendingtherepublic.org/?p=1166; https://www.newsmax.com/newsmax-tv/sidney-
powell-kraken-lawsuit-scotus/2020/12/07/id/1000459/ (last visited Jan. 4, 2021) (Ex. 26).


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             (y)   On December 10, 2020, Powell tweeted, in response to a tweet by Donald
                   Trump:

                           The election & media were all #rigged
                           Your voters broke the #Dominion algorithm
                           ...
                           This election fraud must be completely exposed & ended NOW 4
                           the world151




             (z)   On December 10, 2020, from a hotel room at the Trump International Hotel
                   in Washington, D.C., Powell appeared on Fox Business program Lou Dobbs
                   Tonight, and falsely stated:

                           They designed and developed the Smartmatic and Dominion
                           programs and machines that include a controller module that allows
                           people to log in and manipulate the vote even as it’s happening ...
                           We’re finding reams and reams of actual documents from
                           Smartmatic and Dominion, including evidence that they planned
                           and executed all of this. We know … that there are George Soros
                           connections to the entire endeavor. Lord Malloch Brown was part
                           of it along with the other people from Dominion.
                           …
                           We have evidence of how they flipped the votes, how it was
                           designed to flip the votes, and that all of it has been happening just
                           as we’ve been saying it has been.
                           …


151
   Sidney Powell (@SidneyPowell1), Twitter (Dec. 10, 2020), available at,
https://twitter.com/SidneyPowell1/status/1337251453359026183?s=20 (Ex. 45).


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                             [t]he entire system was created for the benefit of Venezuela and
                             Hugo Chávez to rig elections to make sure he continued winning.
                             And then it was passed on to Mr. Maduro to do the same. And we
                             know it was exported to other countries by virtue of some of the
                             Dominion executives that proceeded to go about and essentially sell
                             elections to the highest bidder.
                             …
                             And they shared office space with George Soros’s companies as
                             well as the leadership of Lord Malloch Brown in the U.K. and
                             Canada. It is a very concerning and troubling and illegal web of
                             conduct that all of which focused on rigging the election in this
                             country. And we are seeing the results in multiple states where
                             we’re now identifying specific votes flipped, like in a couple of
                             Georgia counties.152




             (aa)   On December 13, 2020, from a hotel room at the Trump International Hotel
                    in Washington, D.C., Powell gave a televised interview to The Epoch Times
                    program American Thought Leaders with Jan Jekielek, and falsely stated:

                             Especially insidious and troubling is the machine fraud conducted
                             through the Dominion voting systems. In fact, one of our experts
                             says Dominion fraud was 5 per cent higher votes for Biden across
                             the board everywhere there was a Dominion machine running. The
                             same was true for other Democrats that were running on the tickets
                             in those states.

152
   Evidence of Fraud: Sidney Powell and Lou Dobbs discuss, Fox Business (Dec. 10, 2020),
available at, https://defendingtherepublic.org/?p=1168; https://video.foxbusiness.com/v/6215520
845001/#sp=show-clips (last visited Jan. 4, 2021) (Ex. 27).


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                       …
                       They’re owned, run, and were organized and created by Venezuelan
                       dictator, Hugo Chávez, with his dirty money and the dirty money of
                       the Cuban communists, to ensure he had won every election after it
                       was used.
                       …
                       President Trump’s voters poured out in such great number that they
                       broke the algorithm they had pre-programmed in the computers for
                       Dominion to create the fraud. That’s why they had to stop counting
                       in five states.
                       …
                       Effectively what they did with the machine fraud was to, they did
                       everything from injecting massive quantities of votes into the
                       system that they just made up… They trashed votes. They had this
                       thing called an adjudication system, where they could program the
                       computer—even by their own manual they explain this—they can
                       program the computer to reject ballots for any number of reasons.
                       … And then the people running the machines, the computers, could
                       simply take that whole adjudication file that had hundreds of
                       thousands of Trump votes in it, and drop it, trash it or flip it to Biden.
                       And that happened all across the board.
                       …
                       Another way they did it was to shave votes. The machine can weight
                       the ballots. So they can give Biden votes a weight of 1.25 count,
                       and Trump votes are reduced to a 0.75 count. So they flip 25 per
                       cent of the votes for Biden automatically, every vote count. Instead
                       of a vote counting as one, which is all a vote should ever count as—
                       one man, one vote. That’s our standard, long held rule; the only way
                       it can work in a democratic republic. And instead, if you voted for
                       Biden, you got a 1.25. If you voted for Trump, you got 0.75. We
                       can see in some of the readouts, that’s exactly what happened. You
                       can go back, the mathematicians can go back and figure out the
                       algorithm that was run, by precinct even.
                       …
                       I mean we know that Carolyn Maloney, for example, was
                       complaining about it—I think it was in 2006—wrote a letter to the
                       Secretary of the Treasury, I think, and other people, expressing
                       concern over this Venezuelan-owned company that’s running
                       American elections. … One of the things Dominion gets people
                       with is what I would call election insurance—‘If you put in the
                       Dominion system, you’re gonna win—re-elections, no problem at
                       all.’ And that’s what Hugo Chávez had it rigged for.



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                            …
                            They have been doing this to American citizens and other countries
                            around the world for at least 15 years. Venezuela hasn’t had a free
                            election since Hugo Chávez did the whole Smartmatic Dominion
                            voting system thing.153




             (bb) On December 14, 2020, Powell appeared on the radio program The John
                  Fredericks Show, and falsely stated:

                            I hope things get cleaned up in Georgia fast because there’s no point
                            in voting on machines that commit fraud, and that’s what the
                            Dominion machines do. They can read the ballots, change the
                            ballots, flip votes from Trump to Biden or from Kelly Loeffler to
                            her opposition, they can override signatures, we have evidence that
                            they put massive numbers in what they call an adjudication file, and
                            by Dominion’s own technical manual you can do whatever you want
                            to with the adjudication file.
                            …
                            And Venezuela, of course, you know the system for Dominion and
                            Smartmatic that caused this fraud came from Venezuela and was
                            created to ensure the victories of Hugo Chávez, the dictator, and then

153
   Exclusive: Sidney Powell on 2020 Election Lawsuits, Supreme Court Decision, and the Flynn
Case, The Epoch Times (Dec. 13, 2020), available at, https://defendingtherepublic.org/?p=1170;
https://www.theepochtimes.com/exclusive-sidney-powell-on-election-lawsuits-supreme-court-
decision-and-the-flynn-case_3617067.html (last visited Jan. 4, 2021) (Ex. 28).


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                            of course Maduro has benefited from it. And they have sold it all
                            over the place.
                            …
                            In fact one of our experts, and we have this evidence attached to the
                            exhibits at sidneypowell.com, at defendingtherepublic.org, at
                            kraken-wood.com, all of which people have attacked and tried to
                            take down.
                            …


                            It’s the greatest crime of the century if not the life of the world.
                            …
                            They’ve been telling everybody there’s nothing wrong and that’s a
                            bald-faced lie.
                            …
                            This was rigged from the get-go, and everybody that was part of that
                            knew it.
                            …
                            It’s a 1.26 weighting. What the Dominion machines can do is
                            instead of registering one vote for each candidate, they can go in and
                            they can weight the votes. So, a vote for Biden counts as 1.26 points
                            and a vote for Trump only counts as .74. So they do essentially a
                            25% shift in the votes that causes twice that amount in terms of a
                            flip. It’s … just as criminal as it can possibly be.
                            …
                            [I]n terms of the Dominion machine fraud, yes, it’s going to be the
                            same everywhere and, yes, multiple states should fall because of this
                            fraud.154




154
   Sidney Powell: Kraken Released in MI; Scotus Next!, The John Fredericks Show (Dec. 14,
2020), available at, https://www.johnfredericksradio.com/podcast/december-14-2020/;
https://www.youtube.com/watch?v=qWt1vB-OIZk&list=PL1q2i_zsupwSdYDFTH0pA-X-
YNz57E5TV&index=2 (last visited Dec. 29, 2020) (Ex. 29).


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             (cc)   On December 15, 2020, Powell tweeted the following false statements:

                            “Votes” are counted from images Dominion creates—not the
                            ballots. The images are part of the fraud. Their error rate in Antrim
                            county and elsewhere of over 66% reflects the algorithm pursuant
                            to which these fraudsters shaved votes from Trump and gave them
                            to Biden.155




155
   Sidney Powell (@SidneyPowell1), Twitter (Dec. 15, 2020), available at,
https://twitter.com/SidneyPowell1/status/1338920555966320641?s=20 (Ex. 100).


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             (dd) On December 20, 2020, four days after receiving Dominion’s retraction
                  demand letter, Powell retweeted her attorney’s letter to Smartmatic saying
                  “Ms. Powell retracts nothing,” and doubled down on the truth of her false
                  accusations against Dominion by tweeting the following false statements:

                            Same is true for #Dominion
                            Heard they wrote me too!
                            Haven’t seen it but retracting nothing
                            We have #evidence
                            They are #fraud masters!156




156
   Sidney Powell (@SidneyPowell1), Twitter (Dec. 20, 2020), available at,
https://twitter.com/SidneyPowell1/status/1340760761228996614 (Ex. 4).


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          (ee)   On December 23, 2020, Powell gave an interview on The Sean Hannity Show
                 with Louie Gohmert and falsely stated:

                         Powell: There’s stunning mathematical and statistical evidence and
                         data that’s absolutely irrefutable of massive amounts of votes just
                         disappearing from the system in the hundreds of thousands. And we
                         know for example that in Michigan, in Antrim County, when we
                         actually examined the Dominion voting machines—forensic experts
                         did that—that there were—they have this way of sending votes
                         computer-wise to what they call adjudication, and then they can just
                         disappear them. And they did that for more than 80% of the votes.
                         So somebody can just drag and drop ‘em to the trash file.
                         …
                         Uh, No, it has to be -- it was accessible through the Internet, and
                         that’s an automatic violation of the federal law that requires voting
                         machines to be, you know, protected from any sort of intrusion like
                         that. And we also know they erased certain files on the machines in
                         Antrim County, specifically the adjudication files that would have
                         shown exactly where they put those votes that went missing.
                         And there is evidence from other people in other states that machines
                         were connected from the -- to the Internet; evidence from people in
                         multiple states that people uploaded thumb drives of information to
                         the machine; they can inject votes and create votes from thin air.
                         They have done that, it appears, in any number of places. This
                         election is the biggest crime in American history.
                         …
                         We’ve been focused on the fraud that occurred across the country as
                         a result of the voting machines. And I’m not just talking about
                         Dominion; they all use the same software. And we’re finding more
                         and more evidence that they ran an algorithm in the machines that
                         automatically flipped a certain percentage of votes from Biden—
                         from Trump to Biden, to give Biden a 2.7% flip, which amounts to
                         like a 5.5% edge.
                         …
                         Gohmert: But as I understand it, Smartmatic software has been
                         incorporated into Dominion Voting Systems since 2004; was – was
                         that your understanding?
                         Powell: Yes, that’s my understanding.
                         …
                         Even Senator Warren and Klobuchar and some others, in December
                         of 2019, were complaining about the Venezuelan connection and the
                         corruption in the Dominion systems. And Carolyn Maloney was



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                             one of the congressmen who, ten years ago or so, called it out and
                             tried to get the government not to approve its use whatsoever.157
             (ff)   On December 23, 2020, from within the Trump International Hotel in
                    Washington, D.C., Powell published a 270-page document to Zenger News
                    for the express purpose that Zenger News would publish it, which it
                    foreseeably did. That document included the following false statements about
                    Dominion:

                             [December 13, 2020 Antrim Michigan Forensics Report]
                             We conclude that the Dominion Voting System is intentionally and
                             purposefully designed with inherent errors to create systemic fraud
                             and influence election results. The system intentionally generates an
                             enormously high number of ballot errors. The electronic ballots are
                             then transferred for adjudication. The intentional errors lead to bulk
                             adjudication of ballots with no oversight, no transparency, and no
                             audit trail. This leads to voter or election fraud. Based on our study,
                             we conclude that The Dominion Voting System should not be used
                             in Michigan. We further conclude that the results of Antrim County
                             should not have been certified.
                             …
                             A staggering number of votes required adjudication. This was a
                             2020 issue not seen in previous election cycles still stored on the
                             server. This is caused by intentional errors in the system. The
                             intentional errors lead to bulk adjudication of ballots with no
                             oversight, no transparency or audit trail. Our examination of the
                             server logs indicates that this high error rate was incongruent with
                             patterns from previous years. The statement attributing these issues
                             to human error is not consistent with the forensic evaluation, which
                             points more correctly to systemic machine and/or software errors.
                             The systemic errors are intentionally designed to create errors in
                             order to push a high volume of ballots to bulk adjudication.
                             …
                             The only reason to change software after the election would be to
                             obfuscate evidence of fraud and/or to correct program errors that
                             would de-certify the election. Our findings show that the Central
                             Lake Township tabulator tape totals were significantly altered by
                             utilizing two different program versions (10/23/2020 and
                             11/05/2020), both of which were software changes during an
                             election which violates election law, and not just human error


157
   The Sean Hannity Show with Louie Gohmert, iHeart Radio (Dec. 23, 2020), available at,
https://www.sidneypowell.com/media/listen-below-for-sidney-powells-latest-insight-into-the-
fraudulent-2020-election (last visited Jan. 3, 2021) (Ex. 51).


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                       associated with the Dominion Election Management System. This
                       is clear evidence of software generated movement of votes.
                       …
                       The election logs for Antrim County consist of 15,676 total lines or
                       events. Of the 15,676 there were a total of 10,667 critical
                       errors/warnings or a 68.05% error rate.
                       …
                       A high “error rate” in the election software (in this case 68.05%)
                       reflects an algorithm used that will weight one candidate greater
                       than another (for instance, weight a specific candidate at a 2/3 to
                       approximately 1/3 ratio). In the logs we identified that the RCV or
                       Ranked Choice Voting Algorithm was enabled (see image below
                       from the Dominion manual). This allows the user to apply a
                       weighted numerical value to candidates and change the overall
                       result. The declaration of winners can be done on a basis of points,
                       not votes.
                       …
                       [November 15, 2020 Declaration by an Anonymous Venezuelan
                       military officer]
                       This conspiracy began more than a decade ago in Venezuela and has
                       spread to countries all over the world.
                       …
                       I was witness to the creation and operation of a sophisticated
                       electronic voting system that permitted the leaders of the
                       Venezuelan government to manipulate the tabulation of votes for
                       national and local elections and select the winner of those elections
                       in order to gain and maintain their power.
                       …
                       Importantly, I was a direct witness to the creation and operation of
                       an electronic voting system in a conspiracy between a company
                       known as Smartmatic and the leaders of conspiracy with the
                       Venezuelan government. This conspiracy specifically involved
                       President Hugo Chávez Frias, the person in charge of the National
                       Electoral Council named Jorge Rodriguez, and principals,
                       representatives, and personnel from Smartmatic ... The purpose of
                       this conspiracy was to create and operate a voting system that could
                       change the votes in elections from votes against persons running the
                       Venezuelan government to votes in their favor in order to maintain
                       control of the government.
                       …




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                       After passage of the referendum, President Chávez instructed me to
                       make arrangements for him to meet with Jorge Rodriguez, then
                       President of the National Electoral Council, and three executives
                       from Smartmatic. ... President Chávez. had multiple meetings with
                       Rodriguez and the Smartmatic team at which I was present. In the
                       first of four meetings, Jorge Rodriguez promoted the idea to create
                       software that would manipulate elections. Chávez was very excited
                       and made it clear that he would provide whatever Smartmatic
                       needed. He wanted them immediately to create a voting system
                       which would ensure that any time anything was going to be voted
                       on the voting system would guarantee results that Chávez wanted.
                       Chávez offered Smartmatic many inducements, including large
                       sums of money, for Smartmatic to create or modify the voting
                       system so that it would guarantee Chávez would win every election
                       cycle. Smartmatic’s team agreed to create such a system and did so.
                       …
                       I arranged and attended three more meetings between President
                       Chávez and the representatives from Smartmatic at which details of
                       the new voting system were discussed and agreed upon. ... At these
                       meetings, the participants called their project the “Chávez
                       revolution.” From that point on, Chávez never lost any election. In
                       fact, he was able to ensure wins for himself, his party, Congress
                       persons and mayors from townships.
                       …
                       Chávez was most insistent that Smartmatic design the system in a
                       way that the system could change the vote of each voter without
                       being detected. ... He made it clear that the system would have to be
                       setup to not leave any evidence of the changed vote for a specific
                       voter and that there would be no evidence to show and nothing to
                       contradict that the name or the fingerprint or thumb print was going
                       with a changed vote. Smartmatic agreed to create such a system and
                       produced the software and hardware that accomplished that result
                       for President Chávez.
                       …
                       After the Smartmatic Electoral Management System was put in
                       place, I closely observed several elections where the results were
                       manipulated using Smartmatic software. One such election was in
                       December 2006 when Chávez was running against Rosales. Chávez
                       won with a landslide over Manuel Rosales—a margin of nearly 6
                       million votes for Chávez versus 3. 7 million for Rosales.
                       …
                       On April 14, 2013, I witnessed another Venezuelan national election
                       in which the Smartmatic Electoral Management System was used to


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                       manipulate and change the results for the person to succeed Hugo
                       Chávez as President. In that election, Nicolas Maduro ran against
                       Capriles Radonsky. ... Inside that location was a control room in
                       which there were multiple digital display screens – TV screens – for
                       results of voting in each state in Venezuela. The actual voting results
                       were fed into that room and onto the displays over an internet feed,
                       which was connected to a sophisticated computer system created by
                       Smartmatic. People in that room were able to see in “real time”
                       whether the vote that came through the electronic voting system was
                       in their favor or against them. If one looked at any particular screen,
                       they could determine that the vote from any specific area or as a
                       national total was going against either candidate. Persons
                       controlling the vote tabulation computer had the ability to change
                       the reporting of votes by moving votes from one candidate to
                       another by using the Smartmatic software.
                       …
                       By two o’clock in the afternoon on that election day Capriles
                       Radonsky was ahead of Nicolas Maduro by two million votes. When
                       Maduro and his supporters realized the size of Radonsky’s lead they
                       were worried that they were in a crisis mode and would lose the
                       election. The Smartmatic machines used for voting in each state
                       were connected to the internet and reported their information over
                       the internet to the Caracas control center in real-time. So, the
                       decision was made to reset the entire system. Maduro’s and his
                       supporters ordered the network controllers to take the internet itself
                       offline in practically all parts in Venezuela and to change the results.
                       …
                       It took the voting system operators approximately two hours to make
                       the adjustments in the vote from Radonsky to Maduro. Then, when
                       they turned the internet back on and the on-line reporting was up
                       and running again, they checked each screen state by state to be
                       certain where they could see that each vote was changed in favor of
                       Nicholas Maduro. At that moment the Smartmatic system changed
                       votes that were for Capriles Radonsky to Maduro. By the time the
                       system operators finish, they had achieved a convincing, but narrow
                       victory of 200,000 votes for Maduro.
                       …
                       When Chávez died, Smartmatic was in a position of being the only
                       company that could guarantee results in Venezuelan elections for
                       the party in power.
                       …
                       I want to point out that the software and fundamental design of the
                       electronic electoral system and software of Dominion and other


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                            election tabulating companies relies upon software that is a
                            descendant of the Smartmatic Electoral Management System. In
                            short, the Smartmatic software is in the DNA of every vote
                            tabulating company’s software and system.
                            …
                            Dominion uses the same methods and fundamentally same software
                            design for the storage, transfer and computation of voter
                            identification data and voting data. … The software, hardware and
                            system have the same fundamental flaws which allow multiple
                            opportunities to corrupt the data and mask the process in a way that
                            the average person cannot detect any fraud or manipulation. The fact
                            that the voting machine displays a voting result that the voter intends
                            and then prints out a paper ballot which reflects that change does not
                            matter. It is the software that counts the digitized vote and reports
                            the results. The software itself is the one that changes the
                            information electronically to the result that the operator of the
                            software and vote counting system intends to produce that counts.
                            That’s how it is done. So the software, the software itself configures
                            the vote and voting result -- changing the selection made by the
                            voter. The software decides the result regardless of what the voter
                            votes.158




158
   Clare Swift, Sidney Powell’s Legal Team Has Binder of Documents She Says Establish the
2020 Election was a Fraud, Zenger News (Dec. 23, 2020), available at,
https://www.zenger.news/sidney-powell-document-binder-2020-election-fraud/ (Ex. 79).


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             (gg) On December 28, 2020, Powell published a “Summary” of “Evidence of
                  Foreign Interference in the 2020 Election” to her website, sidneypowell.com,
                  which included the following false statements about Dominion:

                            These election systems appear to have been intentionally and
                            purposefully designed with inherent errors to create systemic fraud
                            and influence election results.
                            …
                            The forensic report prepared for Antrim County, Michigan found
                            that, “the Dominion Voting System is intentionally and purposefully
                            designed with inherent errors to create systematic fraud and
                            influence election results. For example, the report found that the
                            system intentionally generates an enormously high number of ballot
                            errors. The intentional errors lead to individual or bulk adjudication
                            of ballots with no oversight, no transparency, and no audit trail.
                            Dominion operating system has control functions to allow for
                            transfer of adjudication files from one Results Tally system to
                            another. This is the exact type of issue that leads to voter and/or
                            election fraud.
                            …
                            These systems bear the same crucial code “features” and defects that
                            allowed the same outside and foreign interference in the 2020 US
                            General Election, in which votes were in fact altered and
                            manipulated contrary to the will of the voters, as evidence by the
                            forensic analysis of Antrim County MI as well as statements of
                            citizens there who witnessed machine alteration of election results.
                            …
                            Dominion’s purchase of Sequoia Voting Systems from Smartmatic
                            has resulted in the same “Source Code” being used today. Due to
                            this and various other mergers, acquisitions, licensing agreements
                            and partnerships, the entire election ecosystem in the United States
                            is convoluted, murky and hidden. This began with the Venezuelan
                            investment into Smartmatic specifically to rig elections.
                            …
                            Analysis has established that there was a 5.6 % increase in votes for
                            one candidate for president across the entire Dominion system—
                            with all other variables frozen.159




159
   See Summary Foreign Interference Draft 12. 22. 2020, available at,
https://www.scribd.com/document/489248528/Summary (last visited Jan. 4, 2021) (Ex. 82).


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             (hh) On December 29, 2020, Powell gave an interview on the Victory Channel’s
                  FlashPoint with Gene Bailey and falsely stated:

                             I’m pretty sure they ran the algorithm to flip 2.7% of the votes from
                             Trump to Biden almost everywhere across the country, certainly
                             they did it everywhere on Dominion. ... And the vote in all the
                             Dominion areas was 5.6% or so higher for Biden than any other
                             areas in the country. And that would be attributable to that
                             algorithm. ... All manner and means of fraud pervaded this election,
                             but the most insidious and egregious of it is the machine fraud.160




160
   FlashPoint: Hope Is Not Lost! Featuring Attorney Sidney Powell, (The Victory Channel
broadcast Dec. 29, 2020), available at, https://www.sidneypowell.com/media/flashpoint-hope-is-
not-lost-featuring-attorney-sidney-powell (last visited Jan. 3, 2021) (Ex. 101).


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             (ii)   On December 29, 2020, Powell gave a telephonic interview on The Rush
                    Limbaugh Show with host Todd Hermann and made the following false
                    statements about Dominion:

                            The flipping of votes by Dominion is even advertised; their ability
                            to do that fraction, to make a Biden vote count 1.26 and a Trump
                            vote count only .74. They’ve done it before. They’ve done it in
                            Venezuela. They’ve done it in other foreign countries. They’ve
                            done it in this country. We have evidence even that it was done in
                            2016 in California to benefit Hillary over Bernie, and it’s been done
                            in other local elections and smaller elections, different places.
                            …
                            It’s absolutely the most appalling criminal operation in the history
                            of our country.161
             (jj)   On December 30, 2020, OAN foreseeably republished Powell’s false
                    statements from her December 29 interview on The Rush Limbaugh Show.162




161
    The Rush Limbaugh Show, iHeart Radio (Dec. 29, 2020), available at,
https://www.iheart.com/podcast/1119-the-rush-limbaugh-show-57927691/episode/the-rush-
limbaugh-show-podcast--75675693/ (last visited Jan. 7, 2021) (Ex. 25).
162
    Powell: Election Fraud Now Obvious Because President Trump’s Landslide Victory Broke
Dominion ‘Vote-Switch’ Algorithm, OAN (Dec. 30, 2020), available at,
https://www.oann.com/powell-election-fraud-now-obvious-because-president-trumps-landslide-
victory-broke-dominion-vote-switch-algorithm/ (last visited Jan. 4, 2021) (Ex. 50).


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             (kk) On January 3, 2021, Powell tweeted the following false statements:

                            Georgia Data Shows 24,658 of Trump’s Votes Removed, Another
                            12,173 Switched to Biden: Data Scientists
                            https://theepochtimes.com/georgia-election-data-shows-17650-
                            votes-switched-from-trump-to-biden-data-
                            scientists_3640670.html?st=P3cXX4eskG8RfE11tBFgIZHsIKUTx
                            q2CY3_hdP90HRgXys3nzbKoYmVRr-
                            kFoDpjGfdxNeGLpfuLgJWCzQOooWPZLVQZJyQaiBA ... via
                            @epochtimes
                            And that’s just one county! HA has 159 #Dominion staff in every
                            county #Dominion shredding documents
                            @GoJackFlynn
                            @GenFlynn
                            @BoSnerdley163




163
   Sidney Powell (@SidneyPowell1), Twitter (Jan. 3, 2021), available at,
https://twitter.com/SidneyPowell1/status/1345679327887843329?s=20 (Ex. 84).


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              (ll)   On January 3, 2021, Powell appeared on the nationally syndicated radio show
                     The CATS Roundtable with John Catsimatidis and falsely stated:

                              Powell: This is the most fraudulent election in the history of the
                              world. It’s so well documented and so observable. Most people saw
                              it start election night. They saw it with their own eyes. Votes don’t
                              disappear from one candidate and go to the other. Yet people saw
                              that happen. We know it happened. We have election machines and
                              a report done on those by experts that show that votes were flipped
                              from Trump to Biden and how the votes were manipulated
                              according to an algorithm.
                              …
                              Catsimatidis: Georgia, the Senate race on Tuesday; what’s going to
                              happen, do we have enough checks and balances in place?
                              Powell: I’m afraid we don’t, John. I mean, I’m encouraging
                              everyone to get out and vote, and break the algorithm again.
                              …
                              The adjudication file wasn’t kept in Michigan for this year. It was
                              kept for prior elections, but not for this year. And that’s because it
                              would have shown, no doubt, how Dominion people threw the ballot
                              count from Trump to Biden.164




164
   Sidney Powell – Status of Presidential Election, The CATS Roundtable (Jan. 3, 2021),
available at, https://www.sidneypowell.com/media/status-of-the-presidential-election (last visited
Jan. 3, 2021) (Ex. 103).


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          (mm) On January 3, 2021, Powell appeared on an installment of the Global Prayer
               for Election Integrity series, and falsely stated:

                         And what we’ve gotten this year, we’ve finally seen it in real-time,
                         is an algorithm being run to shave a substantial portion of the votes
                         so that Mr. Biden got 1.26 in many places, and a Trump vote was
                         weighed at .74. That’s absolutely outrageous. It’s supposed to be
                         one person, one vote. There should be no fractions of any votes
                         calculated anywhere. But we’re getting more and more information
                         that the algorithm ran in lots of places, including in the red states
                         and against red counties.
                         …
                         And then there are particular places where so many Trump people
                         poured out to vote on election day, which is what we all encouraged
                         them to do, to wait for election day and vote in person to make sure
                         their vote got counted, that they broke the algorithm in all the swing
                         states that they had pre-calculated, based on the pre-election
                         voting. And – and that’s why the voting had to count – stopped
                         counting in multiple states that night when we saw it all happen.
                         And then suddenly, you know, Biden votes appear.
                         …
                         So we’ve seen every manner and means of fraud that anybody can
                         imagine, but it’s the machine fraud that I think is the absolute most
                         insidious.
                         …
                         We’ve got more information coming out about the internet
                         connections that the Dominion machines had. We know that
                         information was uploaded to them by thumb drive; that was
                         impermissible. There should have been nothing changed on the
                         machines from several days – maybe even 30 days, I can’t remember
                         the exact number before the election, until after the votes were
                         tallied and everything properly counted and accounted for.
                         On the machine we got access to in Antrim County, Michigan – or
                         the machines, I should say – they found a substantial flip rate of the
                         votes. And even worse than that, the machines were calibrated to
                         send the vast majority of votes into what’s called an adjudication
                         file that Dominion has on their machines, that then allows an
                         individual to decide where those votes go. Well, we’re talking about
                         hundreds of thousands of votes going in an adjudication file, I think
                         in Fulton County, Georgia, they found that over 92 percent of the
                         votes went into an adjudication file. That’s hundreds of thousands
                         of votes that were then all of a sudden – any number of them
                         disappeared for Trump or reappeared as if they were Biden votes to
                         a substantial percentage.


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                             …
                             There are multiple means of fraud, but the two biggest are the false
                             ballots that were fed into the machines after they stopped counting
                             on election night in all the swing states – and probably other states,
                             too – and then the embedded machine fraud.
                             …
                             I think it should be mandatory that an independent forensic audit be
                             conducted of a number of the Dominion voting machines. And,
                             frankly, other voting systems. It’s not exclusive to Dominion. The
                             DNA of the – of the code that can run the algorithms and – and
                             accomplish the cheating exists in all the systems.
                             …
                             Running the same fraudulent ballots back through the same
                             fraudulent machines is not a valid recount. And the fact that they
                             are trying to avoid having any of the machines examined
                             forensically in any other place in Antrim County, Michigan, tells me
                             all I need to know to know that they are hiding massive evidence of
                             fraud that goes a lot farther back and wider than this election.165




165
   Global Prayer for US Election Integrity, Adam Schindler (Jan. 3, 2021), available at,
https://www.adamschindler.com/prayer/global-prayer-for-us-election-integrity-20/ (last visited
Jan. 4, 2021) (Ex. 107).


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             (nn) On January 4, 2021, Powell published to her website, sidneypowell.com, a
                  document titled “SUMMARY: SELECT EVIDENCE OF PRESIDENTIAL
                  ELECTION FRAUD 2020,” with the following false statements about
                  Dominion:

                             Fraud by Dominion Voting Systems
                             …
                             According to the report, Dominion Voting System is intentionally
                             and purposefully designed with inherent errors to create systemic
                             fraud and influence election results. The system intentionally
                             generates an enormously high number of ballot errors. The
                             electronic ballots are then transferred for adjudication. The
                             intentional errors lead to bulk adjudication of ballots with no
                             oversight, no transparency, and no audit trail.166




166
   Sidney Powell, 2020 Election Evidence Summary, available at,
https://www.sidneypowell.com/election-evidence-2020 (last visited Jan. 4, 2021) (Ex. 85).


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       182.    Powell’s statements are reasonably understood to be statements of fact about

Dominion, and were understood by people who saw, heard, and read them to be statements of fact

about Dominion.

       183.    Powell’s statements are false. Far from being created in Venezuela to rig elections

for a now-deceased Venezuelan dictator, Dominion was created in Toronto, and its voting systems

are certified under standards promulgated by the EAC, reviewed and tested by independent testing

laboratories accredited by the EAC, and were designed to be auditable and include a paper ballot

backup to verify results. Because of this backup, independent audits and hand recounts of paper

ballots have conclusively and repeatedly disproven the false claim that Dominion rigged the 2020

U.S. presidential election by manipulating votes, shifting votes, installing and using an algorithm

to modify or “weight” votes such that a vote for Biden counted more than a vote for Trump,

trashing Trump votes, adding Biden votes, or training election workers to dispose of Trump votes

and to add Biden votes. Powell does not have a video of Dominion’s founder admitting he can

change a million votes. Hugo Chávez’s elections were not handled by Dominion, but by an entirely

different company—Smartmatic—a competitor of Dominion’s. Dominion was not created in or

for Venezuela, has never been located there, and is not owned by Smartmatic or Venezuelans.

Dominion has never provided machines or any of its software or technology to Venezuela, nor has

it ever participated in any elections in Venezuela. It has no ties to the Venezuelan government,

Hugo Chávez, Malloch Brown, or George Soros. Dominion does not use Smartmatic’s software

or machines, and there was no Smartmatic technology in any of Dominion’s voting machines in

the 2020 election. Dominion did not bribe or pay kickbacks to Georgia officials or their families

in return for a no-bid contract to use Dominion systems in the 2020 election.




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       184.     Powell had no applicable privilege or legal authorization to make these false and

defamatory statements, or if she did, she abused it.

       185.     As set forth above in detail, in the course of her business as a media figure, author,

and attorney, Powell published these statements with actual malice, knowing or recklessly

disregarding that they are false, including by intentionally lying about having a recording that does

not exist; manufacturing, misrepresenting, and cherry-picking evidence to support her false

accusations; purposefully avoiding or intentionally disregarding abundant and publicly available

evidence, facts, and reliable sources rebutting and disproving her false claims; espousing

inherently improbable accusations; forming and sticking to a false preconceived narrative in spite

of the facts; relying on and putting forward facially unreliable sources; and—when specifically put

on notice of the truth and asked to retract—doubling down on and republishing her false

accusations, all in furtherance of her plan to financially enrich herself, to raise her public profile,

and to ingratiate herself to Donald Trump for benefits she expected to receive as a result of that

association.

       186.     Dominion is entitled to punitive damages pursuant to O.G.C.A. Sec. 51-12-5.1

because, as set forth in detail above, there is clear and convincing evidence that Powell’s

defamatory statements at the Georgia “Stop the Steal” rally—and in any other statements described

in this Complaint that Powell gave from within Georgia—showed willful misconduct, malice,

wantonness, and an entire want of care which raises the presumption of conscious indifference to

consequences.

       187.     Dominion is also entitled to punitive damages under D.C. law for Powell’s

defamatory statements at the Washington, D.C. press conference and other statements described

in this Complaint that Powell gave from within Washington, D.C., because, as set forth in detail




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above, Powell’s defamatory statements were accompanied with ill will, recklessness, wantonness,

willful disregard of Dominion’s rights, and other circumstances tending to aggravate the injury,

including but not limited to Powell repeating her defamatory falsehoods even though she knew

Dominion employees were receiving death threats because of them.

        188.   Powell’s statements are defamatory and defamatory per se. Powell’s statements

have exposed Dominion to the most extreme hatred and contempt, and Powell’s accusations about

Dominion have been described by those who saw, heard, and read them as “the greatest crime in

the history of this country.”167 Powell herself called it the “greatest crime of the century if not the

life of the world.” She has directly accused Dominion of fraud, election rigging, bribery, and

conspiracy, which are serious crimes. For Dominion—whose business is producing and providing

voting systems for elections—there are no accusations that could do more to damage Dominion’s

business or to impugn Dominion’s integrity, ethics, honesty, and financial integrity. Powell’s

statements were calculated to—and did in fact—provoke outrage and cause Dominion enormous

harm.

        189.   Acting in concert with allies and media outlets that were determined to promote a

false preconceived narrative about the 2020 election, Powell launched a viral disinformation

campaign about Dominion that reached millions of people and caused enormous harm to

Dominion. As a direct, foreseeable, and intentional result of that viral disinformation campaign,

Dominion has suffered the following single and indivisible injuries: Dominion employees have

been stalked, have been harassed, and have received death threats; Dominion has been forced to

make an expenditure of money to remedy the defamation and to protect the lives of its employees;



167
   See, e.g., Tucker Carlson Tonight, Fox News (Nov. 21, 2020), available at,
https://video.foxnews.com/v/6211375866001?playlist_id=5198073478001#sp=show-clips (last
visited Jan. 4, 2021) (Ex. 104).


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Dominion has lost profits; and Dominion’s reputation has been irreparably damaged.

       190.     In view of the forgoing, Dominion is entitled to actual, presumed, punitive, and

other damages in an amount to be specifically determined at trial.

                     COUNT TWO – DECEPTIVE TRADE PRACTICES
                               (Against All Defendants)

       191.     Dominion repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       192.     Powell’s false and defamatory statements, as described in detail above, constitute

deceptive trade practices in violation of Georgia law, O.C.G.A. Sec. 10-1-372(a)(8), as they

disparage Dominion’s goods and services by false and misleading representations of fact.

       193.     As alleged in detail above, despite knowing that her defamatory falsehoods about

Dominion were deceptive, Powell willfully made them in the course of her business as a media

figure, author, and attorney because she could derive—and did in fact derive—both direct and

indirect financial benefits from making those false statements. For example, she used her

defamatory falsehoods about Dominion to solicit funds to her fundraising website. She also used

the defamatory accusations to garner media attention and raise her public profile, which sold

additional copies of her book and drummed up additional potential clients for Powell.

       194.     Powell’s statements have irreparably damaged Dominion and will, unless enjoined

by this Court, further impair the value of Dominion’s name, reputation, and goodwill.

       195.     Dominion is entitled to permanent injunctive relief requiring the removal of all the

Defendants’ statements that are determined to be false and defamatory and enjoining the

Defendants from repeating such statements or engaging in any further deceptive trade practices

relating to Dominion.




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       196.    Dominion is entitled to recover from Defendants its costs of litigation, including

reasonable attorneys’ fees, pursuant to O.C.G.A. Sec. 10-1-373(b).

                                    PRAYER FOR RELIEF

       WHEREFORE, Dominion respectfully requests that the Court enter an award and

judgment in its favor, and against all Defendants jointly and severally, as follows:

              (a)   awarding Dominion compensatory damages of not less than $651,735,000;

              (b)    awarding Dominion punitive damages of not less than $651,735,000;

              (c)    awarding Dominion all expenses and costs, including attorneys’ fees;

              (d)    granting a narrowly tailored permanent injunction requiring the removal of
                     all the Defendants’ statements that are determined to be false and defamatory
                     and enjoining the Defendants from repeating such statements or engaging in
                     any further deceptive trade practices relating to Dominion; and

              (e)    such other and further relief as the Court deems appropriate.



                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all claims and issues so triable.


Date: January 8, 2021
                                               /s/ Thomas A. Clare, P.C.
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